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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

    In re:
                                         Chapter 11
     MALLINCKRODT, PLC, et al.,          Case No. 20-12522-JTD
                                         (Jointly Administered)
                Debtors.1


    AD HOC FIRST LIEN NOTES
                                         Appeals from the Bankruptcy Court
    GROUP, et al.,
                   Appellants,
                                         Case No. 22-cv-00331-TLA
                      v.
                                         Case No. 22-cv-00330-TLA
     MALLINCKRODT, PLC, et al.,
                                         Oral Argument Requested
                     Appellees.


                       OPENING BRIEF OF APPELLANT
                      AD HOC FIRST LIEN NOTES GROUP

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1
       A complete list of each of the Debtors in the chapter 11 cases may be obtained
       on the website of the Debtors’ claims and noticing agent at
       http://restructuring.primeclerk.com/Mallinckrodt.      The Debtors’ mailing
       address is 675 McDonnell Boulevard, Hazelwood, Missouri 63042.
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        CORPORATE DISCLOSURE STATEMENT PURSUANT TO
         FEDERAL RULE OF BANKRUPTCY PROCEDURE 80122

      1.     Aurelius Capital Management, LP has no parent corporation, and no

publicly held corporation owns 10% or more, directly or indirectly, of Aurelius

Capital Management, LP.

      2.     Navigator Global Investments Limited indirectly owns 10% or more of

Bardin Hill Investment Partners LP. No other publicly held corporation owns 10%

or more, directly or indirectly, of Bardin Hill Investment Partners LP.

      3.     Capital Research and Management Company is a wholly-owned

subsidiary of The Capital Group Companies, Inc., a non-public corporation.

      4.     Moore Global Investments, LLC is owned by Remington Investment

Strategies, LP, and no publicly held corporation owns 10% or more of Moore Global

Investments, LLC.

      5.     Stonehill Capital Management LLC has no parent corporation, and no

publicly held corporation owns 10% or more, directly or indirectly, of Stonehill

Capital Management LLC.

      6.     Two Seas Capital LP has no parent corporation, and no publicly held

corporation owns 10% or more, directly or indirectly, of Two Seas Capital LP.



2
    The Ad Hoc First Lien Notes Group’s Bankruptcy Rule 8012 disclosures also
    were attached as Exhibit “A” to Appellant’s Omnibus Objection To Motions To
    Intervene (D.I. 23 in this appeal, 22-cv-00331-TLA).
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      7.     VR Advisory Services Ltd. is the sole member of VR Global Partners,

L.P. and VR Capital Group Ltd. is the only entity that directly or indirectly owns or

controls greater than 10% of VR Global Partners, L.P.’s partnership capital. No

publicly held corporation owns 10% or more, directly or indirectly, of VR Global

Partners, L.P.
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                                INTRODUCTION

      The bankruptcy court’s confirmation of the Debtors’ Plan should be reversed

as it relates to the treatment of Appellant’s First Lien Notes.3 The bankruptcy court

incorrectly held that the Plan did not impair the First Lien Noteholders, even though

the Plan (1) failed to honor an “Applicable Premium” to which the noteholders are

contractually entitled, and (2) violated the First Lien Noteholders’ contractual

seniority vis-à-vis the subordinated, Second Lien Noteholders.

      The bankruptcy court’s decision improperly substitutes the court’s notions of

“policy” for the plain language of the Bankruptcy Code.            According to the

bankruptcy court, ipso facto claims such as the Applicable Premium that arise

automatically upon a debtor’s filing violate the “public policy behind the bankruptcy

code.” But no such generalized policy is codified anywhere in the Code. The Code’s

sections that govern allowance of claims—502 and 506—contain numerous

bankruptcy-specific limitations on claims, but none permits disallowance of a claim



3
    The Appellant Ad Hoc First Lien Notes Group consists of Aurelius Capital
    Management, LP (solely on behalf of the funds and entities that it manages or
    advises, and not in its individual capacity), Bardin Hill Investment Partners LP
    (solely on behalf of the funds and entities that it manages or advises, and not in
    its individual capacity), Capital Research and Management Company, Moore
    Global Investments, LLC, Stonehill Capital Management LLC, Two Seas
    Capital LP, and VR Global Partners, L.P. Each Member of the Ad Hoc First
    Lien Notes Group files this brief exclusively on its own behalf and does not
    assume any fiduciary or other duties to any other Member or to any other entity
    or individual.

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simply because it arose automatically upon the debtor’s bankruptcy filing. When

Congress intended to address ipso facto rights and obligations, it did so with specific

statutory provisions which, by their terms, are limited to the subject matters they

address. “[W]hen the statute’s language is plain, the sole function of the courts—at

least where the disposition required by the text is not absurd—is to enforce it

according to its terms.” Hartford Underwriters Ins. Co. v. Union Planters Bank,

N.A., 530 U.S. 1, 6 (2000) (internal quotations omitted).

      Because the Applicable Premium is an allowable claim in bankruptcy, the

Debtors’ Plan could not alter the First Lien Noteholders’ right to receive it while

also purporting to unimpair the claims of the First Lien Noteholders. Although

Bankruptcy Code section 1124(2) excuses a debtor from curing certain defaults “of

a kind specified in section 365(b)(2) of this title or of a kind that section 365(b)(2)

expressly does not require to be cured,” that exception does not apply to the First

Lien Notes Indenture, which is not an executory contract governed by section 365.

      Moreover, even if the Debtors were excused from “curing” their bankruptcy

default, nothing in the plain language of section 1124 (or anywhere else in the Code)

relieves the Debtors of their obligation to satisfy allowable claims against their

estates, including the Applicable Premium. Section 1123(d) makes clear that “if it

is proposed in a plan to cure a default the amount necessary to cure the default shall

be determined in accordance with the underlying agreement and applicable



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nonbankruptcy law.”      In short, claim unimpairment does not result in claim

disallowance. In order for the Debtors to reinstate and unimpair the First Lien Notes,

they must honor the Applicable Premium that is now owing.

      At a minimum, the Debtors must pay interest on the Applicable Premium for

the more than 19 months that their chapter 11 cases have been pending

(approximately $15 million as of the date of this brief). The Applicable Premium

was added automatically to the principal amount owing on the Petition Date, and it

has remained both owing and unpaid throughout the Debtors’ cases. Yet, the

Debtors have only paid interest on the prepetition principal, without regard to the

Applicable Premium. Nor have the First Lien Noteholders received default interest;

the Applicable Premium and interest thereon are the remedies they are contractually

entitled to under the First Lien Notes Indenture. There is no basis to deny the First

Lien Noteholders interest on the Applicable Premium at least through the duration

of the default, particularly when the Debtors have yet to cure and reinstate the First

Lien Notes, which as of the filing of this brief remain in default.

      Finally, even if the Debtors were excused from paying the Applicable

Premium themselves, that benefit does not extend to nondebtor parties, such as the

Second Lien Noteholders. The plain language of Bankruptcy Code section 510(a)

and the Second Lien Intercreditor Agreement requires that all distributions received

by the Second Lien Noteholders on account of their Collateral—including their new



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replacement second lien notes—be turned over to the First Lien Noteholders. The

bankruptcy court’s sweeping release of the Second Lien Noteholders’ obligations

was in error, and, as a consequence, the First Lien Noteholders have been further

impaired under the Plan.

                       JURISDICTIONAL STATEMENT

      The bankruptcy court had jurisdiction under 28 U.S.C. §§ 157 and 1334. The

bankruptcy court issued an oral opinion on November 5, 2021 (“11/5/21 Tr.”),4

issued a written opinion on February 3, 2022,5 issued a revised written opinion on

February 8, 2022 (“Rev. Op.”),6 and entered a final order (“Confirmation Order”)

confirming the Debtors’ Fourth Amended Plan (With Technical Modifications)

(“Plan”) on March 2, 2022.7 Appellant filed a timely notice of appeal on March 16,

2022.8 This Court has jurisdiction under 28 U.S.C. § 158(a)(1).

                              ISSUES PRESENTED

      Whether the bankruptcy court erred in concluding that the First Lien Notes

were left unimpaired by a plan of reorganization that (i) extinguishes the First Lien


4
    ECF 5220 (A.2722). All “ECF” citations herein, unless otherwise specified, are
    to the docket numbers in the bankruptcy case, and all “A.__” citations are to the
    accompanying Appendix.
5
    ECF 6347 (A.2841).
6
    ECF 6378 (A.2944).
7
    ECF 6660 (A.3240).
8
    ECF 6779 (A.3697).

                                         4
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Noteholders’ contractual right to receive the Applicable Premium due under the First

Lien Notes Indenture, and (ii) extinguishes the First Lien Noteholders’ intercreditor

rights under the Second Lien Intercreditor Agreement.9

      “Whether a claim is impaired under section 1124 is a question of law, subject

to de novo review.” In re L & J Anaheim Assocs., 995 F.2d 940, 942 (9th Cir. 1993).

Similarly, questions of statutory construction and contract interpretation are

reviewed de novo. In re Energy Future Holdings Corp., 842 F.3d 247, 253 (3d Cir.

2016).

                         STATEMENT OF THE CASE

      A.     The Debtors

      The Debtors “operate a global specialty biopharmaceutical company that

produces and sells both generic and branded pharmaceutical products including

specialty products for the treatment of rare diseases and controlled substances, such

as opioids.” Rev. Op. 1 (A.2944). “In the years leading up to the commencement


9
    Appellant is not pursuing its appeal of whether a refinancing of the Debtors’
    other first lien obligations would, in itself, invoke the First Lien Intercreditor
    Agreement’s sharing provisions. See ECF 6987 ¶ 5 & A.2240. However, as of
    this time, the Debtors have not finalized the terms of this refinancing or other
    treatment for the other first lien creditors, nor have publicly made available
    definitive documents relating to it. Accordingly, Appellant reserves all rights as
    to whether the refinancing or other treatment of other first lien creditors, as
    actually consummated under the Plan or otherwise, complies with the terms of
    the First Lien Notes Indenture and the First Lien Intercreditor Agreement, as
    they must in order for the First Lien Notes to be “unimpaired” as purported to
    be under the Debtors’ Plan.


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of these bankruptcy cases, Debtors faced an onslaught of litigation arising out of

their production of certain drugs.” Id. at 2 (A.2945). This litigation includes

thousands of cases “stemming from their production and sale of opioid medications,”

as well as additional civil cases and government investigations relating to the

marketing and sale of a drug called Acthar H.P. Gel. Id.

      The Debtors filed for chapter 11 on October 12, 2020 (“Petition Date”), and

their Plan was confirmed on March 2, 2022. The Plan has not become effective.

      B.    The Debtors’ First Lien Notes And Obligation To Pay The
            Applicable Premium

      The First Lien Notes were issued by Debtors Mallinckrodt International

Finance S.A. and Mallinckrodt CB LLC in connection with a private exchange

consummated in April 2020 for the Debtors’ then-outstanding unsecured notes due

April 2020 (the “2020 Private Exchange”). The First Lien Notes are unconditionally

guaranteed by most of the Debtors and certain non-Debtor guarantors. Subject to

limited exceptions, the First Lien Notes are secured by first-priority liens on

substantially all assets of the Debtors (other than Debtors Mallinckrodt Holdings

GmbH, Mallinckrodt Group S.à r.l., and Mallinckrodt Canada ULC) and of the non-

Debtor guarantors. See Declaration of Stephen A. Welch, Chief Transformation

Officer, in Support of Chapter 11 Petitions and First Day Motions ¶¶ 58-59, ECF

128 (A.0024-25). There is no dispute that the First Lien Notes are significantly




                                        6
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oversecured on a reorganization basis. See Rev. Op. 73 & Appendix 1 (A.3016 &

3042-46).

       The 2020 Private Exchange provided the Debtors with key benefits at a critical

stage of their business and at the height of the first COVID wave. In particular, it

allowed the Debtors to conserve liquidity that otherwise would have been consumed

by repaying approximately $495 million in unsecured notes as they came due in

April 2020.     The transaction afforded the Debtors flexibility while Debtor

Mallinckrodt ARD LLC pursued reconsideration of the adverse decision it had

received in Acthar-related litigation with the Centers of Medicare and Medicaid

Services in March 2020, and the Debtors continued to engage with opioid claimants

regarding the settlement announced earlier in the year (which had not contemplated

a whole-company bankruptcy filing). Indeed, the 2020 Private Exchange was an

express condition precedent for the Debtors’ opioid litigation settlement, and its

consummation helped that settlement move forward.10

       In consideration of those important benefits, the Debtors agreed to provide the

First Lien Noteholders with corresponding economic concessions and protections.

These negotiated concessions and protections expressly included: (1) automatic




10
     See Mallinckrodt plc, Quarterly Report (Form 10-Q), at 16-17 (May 6, 2020)
     (ECF 4719 Ex. 1, A.1454-55).

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acceleration upon a bankruptcy filing, and (2) the Applicable Premium becoming

automatically due and added to principal upon a bankruptcy filing.

       The indenture governing the First Lien Notes (the “First Lien Notes

Indenture”)11 provides for acceleration of the First Lien Notes following an Event of

Default.   See First Lien Notes Indenture § 6.02 (A.1566).          As relevant here,

acceleration of the First Lien Notes is triggered automatically by a bankruptcy or

other similar filing, making “the principal of, premium, if any, and interest on all the

Notes . . . immediately due and payable without any declaration or other act on the

part of the First Lien Trustee or any holders.” Id. Thus, the First Lien Notes were

automatically accelerated upon the Debtors’ bankruptcy filing.

       The Debtors also agreed in the First Lien Notes Indenture that, upon the

acceleration of the First Lien Notes in connection with a bankruptcy filing or

payment default prior to April 15, 2022, “an amount equal to the Applicable

Premium . . . that would have been payable in connection with an optional

redemption of the Notes at the time of the occurrence of such acceleration will

become and be immediately due and payable with respect to all Notes without any

declaration or other act on the part of the First Lien Trustee or any holders of the




11
     See ECF 4719 Ex. 2 (A.1488).

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Notes.” First Lien Notes Indenture § 6.02 (A.1566) (emphasis added).12 This

additional amount is “deemed to be principal of the Notes and interest shall accrue

on the full principal amount of the Notes (including the Applicable Premium or such

other premium) from and after the applicable triggering event.” Id.

       The First Lien Notes do not otherwise provide for default interest, including

after an acceleration event. Thus, the Applicable Premium is the only additional

obligation triggered by a default or acceleration, other than fees and expenses as

permitted under the First Lien Notes Indenture.

       Because the October 12, 2020 Petition Date occurred prior to April 15, 2022,

the filing triggered an obligation for the Debtors to pay the Applicable Premium of

approximately $94 million.13 The Applicable Premium became immediately due

and payable and was added to the outstanding $495 million principal amount of the

First Lien Notes. The obligations have continued to accrue postpetition interest


12
     If an acceleration occurred between April 15, 2022 and April 15, 2024, a
     “redemption price” would have been due, starting at 105% of the outstanding
     principal in 2022. First Lien Notes Indenture, App. A ¶ 5 (A.1619).
13
     The Applicable Premium that must be paid in the event of an acceleration prior
     to April 15, 2022, is defined as the greater of (1) 1% of the then outstanding
     principal amount of the First Lien Notes; and (2) the excess, if any, of (a) the
     present value of the redemption price of First Lien Notes, at April 15, 2022, plus
     all required interest payments due on the First Lien Notes through April 15,
     2022, computed using a discount rate equal to the Treasury Rate plus 50 basis
     points; over (b) the then outstanding principal amount of the Notes. See First
     Lien Notes Indenture § 1.01 (A.1495-96) (defining “Applicable Premium”); id.
     App. A ¶ 5 (A.1619) (specifying redemption terms).

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since the Debtors’ filing. The Debtors, however, have only paid postpetition interest

on the prepetition portion of the principal during the chapter 11 case, and all parties

have “reserved and preserved in all respects” their rights as to the Applicable

Premium pursuant to a stipulated cash collateral order. ECF 586 at 29 (A.285).14

This is in contrast to other creditors, such as the credit agreement lenders, who

received an additional 2% of interest (equal to their default rate) during the

bankruptcy case. Id. at 28 (A.284).

       The Debtors agreed in the First Lien Notes Indenture that their obligation to

pay the Applicable Premium represents a “reasonable calculation of each holder’s

lost profits” from the triggering event, “in view of the impracticability and difficulty

of ascertaining actual damages.” First Lien Notes Indenture § 6.02 (A.1566). The

First Lien Notes Indenture further provides that the premium “shall be presumed to

be liquidated damages sustained by each holder as the result of the acceleration of

the Notes.” Id.

       Although the Debtors could have negotiated to exclude a bankruptcy filing

from the list of defaults that would trigger an acceleration giving rise to their

obligation to pay the Applicable Premium, compare In re AMR Corp., 730 F.3d 88,




14
     A failure by the Debtors to pay postpetition interest or fees in their full amount
     would constitute a further impairment of the First Lien Notes, and Appellant
     reserves all rights with respect thereto.

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99 (2d Cir. 2013),15 that was not the bargain the parties struck. The parties expressly

agreed that the Applicable Premium would become due and payable automatically

upon a bankruptcy filing. In this respect, the First Lien Notes Indenture is materially

different not only from the indenture in AMR, but also in Energy Future Holdings,

842 F.3d at 256-57, in which—unlike here—only an actual redemption, rather than

an acceleration event, triggered a make-whole requirement. Moreover, the First Lien

Notes Indenture departs from the treatment provided for in certain of the Debtors’

prior note issuances, under which only an “optional redemption” of the notes would

give rise to a prepayment premium.16

       Indeed, the Debtors’ agreements with the First Lien Noteholders went much

further than the Debtors had gone in the indenture governing the Debtors’ second

lien notes (the “Second Lien Notes Indenture”),17 which had been negotiated only

months earlier.    There, the Debtors agreed that, upon a bankruptcy-triggered

acceleration, “an amount equal to the Applicable Premium” would “become and be



15
     The indenture in AMR provided that the obligations were due “without Make-
     Whole Amount” upon an acceleration, which is the polar opposite of what the
     First Lien Notes Indenture provides. See 730 F.3d at 99 (emphasis in original).
16
     See, e.g., Indenture for 5.625% Senior Notes due 2023, § 6.02, App. A ¶ 5 (ECF
     4719 Ex. 3 (A.1717-18, 1772)); Indenture for 4.875% Senior Notes due 2020
     and 5.500% Senior Notes due 2025, § 6.02, Ex. A-1-6 ¶ 5 (ECF 4719 Ex. 4
     (A.1863, 1908)); Indenture for 5.75% Senior Notes due 2022, § 6.02, Ex. A-6
     ¶ 5 (ECF 4719 Ex. 5 (A.2029, 2084)).
17
     See ECF 4719 Ex. 6 (A.2101).

                                          11
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immediately due and payable with respect to all Notes without any declaration or

other act on the part of the Second Lien Trustee or any holders of the Notes.” Second

Lien Notes Indenture § 6.02 (A.2174). The Debtors further agreed that this amount

was “intended to be liquidated damages and not unmatured interest or a penalty.”

Id. But—unlike in the First Lien Notes Indenture—the Debtors did not include the

further stipulation that the Applicable Premium “shall be deemed to be principal of

the Notes,” and that “interest shall accrue on the full principal amount of the Notes

(including the Applicable Premium or such other premium) from and after the

applicable triggering event.” First Lien Notes Indenture § 6.02 (A.1566).

      The Debtors also agreed in the First Lien Notes Indenture—again in language

with no precedent in the Second Lien Notes Indenture—that this resolution was

“reasonable” and a “product of an arm’s length transaction between sophisticated

business entities ably represented by counsel.” First Lien Notes Indenture § 6.02

(A.1566). They also “expressly acknowledge[d] that their agreement to pay the

premium . . . [was] a material inducement to holders to acquire the Notes,” id.—a

frank acknowledgment that this agreement provided the new First Lien Noteholders

with an important economic benefit, and that without such an “inducement,” the First

Lien Noteholders would not have agreed to lend the funds or would surely have

insisted on a higher rate of interest, particularly following a default, or other

offsetting economic concessions.



                                         12
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       Finally, the Debtors agreed—again in new language, without precedent in

their prior debt issuances—that “a course of conduct between holders and the

Issuers” gave “specific consideration in this transaction for such agreement to pay

the premium,” and that the Issuers would “be estopped hereafter from claiming

differently than as agreed to.” First Lien Notes Indenture § 6.02 (A.1566). And they

agreed—in all caps—to “EXPRESSLY WAIVE (TO THE FULLEST EXTENT

THEY MAY LAWFULLY DO SO) THE PROVISIONS OF ANY PRESENT OR

FUTURE STATUTE OR LAW THAT PROHIBITS OR MAY PROHIBIT THE

COLLECTION OF THE PREMIUM.” Id.

       In sum, there can be no conceivable doubt that the parties intended and fully

expected that the Debtors’ obligation to pay the Applicable Premium would be

binding and enforceable, including in any future bankruptcy proceeding. The First

Lien Notes Indenture differs materially from those in AMR, Energy Future, and the

Debtors’ own prior issuances, with the clear result that the Applicable Premium is

due and owing.

       C.    The Second Lien Intercreditor Agreement

       In addition to first priority liens and guaranties, the First Lien Noteholders

received protections under an agreement with the holders of Second Lien Notes (the

“Second Lien Intercreditor Agreement”),18 which governs the relative rights of the


18
     ECF 4719 Ex. 8 (A.2291).

                                         13
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Debtors’ First Lien and Second Lien debt. Section 4.2(b) of the Second Lien

Intercreditor Agreement provides that, “so long as the Discharge of First Lien

Obligations has not occurred, if in any Insolvency or Liquidation Proceeding the

Second Lien Collateral Agent or any other Second Lien Claimholders shall receive

any distribution of money or other property in respect of or on account of the

Collateral . . . such money, other property or amounts shall be segregated and held

in trust and forthwith paid over to the First Lien Collateral Agent for the benefit of

the First Lien Claimholders in the same form as received.” A.2316. Under the

Second Lien Intercreditor Agreement, “Discharge” is defined to require, among

other things, “payment in full in cash.” Second Lien Intercreditor Agreement § 1.1

(A.2299). As discussed further below, the First Lien Notes have not been paid in

full; instead, they have purportedly been “reinstated” without the Applicable

Premium that is owing.

       D.    The First Lien Noteholders’ Claim And The Debtors’ Objection
             Thereto

       The First Lien Notes Indenture Trustee timely filed its proof of claim on

behalf of all First Lien Noteholders on February 15, 2021.19 The claim sought

allowance of, among other things, $495,032,000 in principal, interest, and “all

applicable premiums or payments due under the First Lien Secured Notes



19
     Proof Of Claim No. 4515 (A.3680).

                                         14
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Documents, including, without limitation, all amounts due under the First Lien

Secured Notes Documents in respect of the Applicable Premium (as defined in the

First Lien Indenture).” A.3690.

       The Debtors objected to the First Lien Notes Claims on July 30, 2021.20 The

Debtors contended that the Applicable Premium was disallowable because, under

the Debtors’ proposed “Plan, the First Lien Notes . . . will be reinstated in accordance

with 11 U.S.C. § 1124(2).”21 The Debtors also argued that, “even without [s]ection

1124(2), the makewhole claims should also be disallowed under [s]ections 363(l)

and 541(c), as well as in the Court’s discretion under [s]ection 506(b).”22

       A hearing on the Debtors’ claim objection was scheduled concurrently with

the Plan confirmation hearing.23




20
     Debtors’ Objection To Funded Debt Claims Pursuant To Article VII.J Of The
     Debtors’ Joint Plan Of Reorganization (Fifth Omnibus Objection (Substantive)),
     ECF 3504 (A.1317).
21
     Id. ¶ 8 (A.1322).
22
     Id.
23
     Order Approving Stipulation Between The Debtors And The Ad Hoc First Lien
     Notes Group Regarding Responses To The July 30 Claim Objection, ECF 4683
     (A.1357).

                                          15
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         E.    The Debtors’ Plan Of Reorganization

         The Debtors first proposed their Plan on April 20, 2021, and a Disclosure

Statement was approved on June 17, 2021.24 The Debtors’ Plan proposed that the

First Lien Notes Claims would be in Class 3, and would be allowed:

         in the aggregate principal amount of $495,032,000.00 . . . , plus accrued
         and unpaid Allowed interest on such principal amount, plus any other
         Allowed unpaid premiums, fees costs, or other amounts due and owing
         pursuant to the First Lien Notes Indenture.25

         The Plan also proposed that, if the Applicable Premium was not allowed, “all

Allowed First Lien Notes Claims shall be Reinstated” by being “rendered

Unimpaired in accordance with section 1124 of the Bankruptcy Code.”26 Otherwise,

the First Lien Noteholders would receive either “the Cram-Down First Lien Notes

in a face amount equal to the amount of such Allowed First Lien Notes Claims or

(2) Cash in an amount equal to the amount of such Allowed First Lien Notes Claims

. . . .”27

         Finally, the Plan proposed broadly to exculpate the Second Lien Noteholders

from any intercreditor liability to the First Lien Noteholders, based on the erroneous




24
     ECF 2911.
25
     ECF 2916 at 51 (A.0389); as confirmed ECF 6510 at 60 (A.3110).
26
     ECF 2916 at 33, 51 (A.0371, 0389), as confirmed ECF 6510 at 40, 60 (A.3090,
     3110).
27
     ECF 2916 at 51 (A.0389); as confirmed ECF 6510 at 60 (A.3110).

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proposition that “the holders of First Lien Notes Claims shall have received recovery

in full pursuant to the terms of this Plan”:

       [T]he holders of First Lien Notes shall not have any claims (including,
       without limitation, for turnover of payments) against the holders of
       Second Lien Notes (or the Second Lien Indenture Trustee or the Second
       Lien Collateral Agent) under the existing Intercreditor Agreement in
       any way arising from, relating to or as a result of the Debtors’
       restructuring (including, without limitation, of the First Lien Notes and
       Second Lien Notes), the Plan (including, without limitation, the
       treatment of the existing First Lien Notes Claims or Second Lien Notes
       Claims under the Plan or the making of distributions to the holders of
       the existing First Lien Notes Claims or Second Lien Notes Claims in
       accordance with the Plan), the distribution of property by the Debtors
       under the Plan, any related document or any order of the Bankruptcy
       Court, or any other transaction, agreement, event, omission or other
       occurrence taking place on or before the Effective Date related or
       relating to any of the foregoing, including without limitation the
       payment of any reasonable and documented out-of-pocket fees or
       expenses of the advisors to the Ad Hoc Second Lien Notes Group or
       the payment of the Second Lien Notes Indenture Trustee Fees, which
       payments shall be final and not subject to disgorgement, turnover,
       recovery, avoidance, recharacterization or any other similar claim.

Plan Art. IV.GG.28

       F.    Procedural Background

       Appellant, another holder of First Lien Notes (Columbus Hill), and the First

Lien Notes Indenture Trustee objected to confirmation on various grounds, including




28
     As confirmed ECF 6510 at 112-13 (A.3162-63).

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that the Plan improperly failed to honor the Applicable Premium and violated the

First Lien Noteholders’ rights under the Second Lien Intercreditor Agreement.29

       On November 5, 2021, the bankruptcy court issued an oral decision overruling

the First Lien Noteholders’ objections. The bankruptcy court held that:

       Section 1124(2) permits the reinstatement of an obligation
       notwithstanding any contractual provisions requiring an acceleration of
       any claim or interest after the occurrence of default. Section 6.02 of the
       first lien notes indenture is a contractual provision that triggers and
       accelerates the payment of the applicable premium after the occurrence
       of the default as a result of the bankruptcy filing. That is precisely the
       type of situation Section 1124(2) is intended to address; therefore, the
       applicable premium can be de-accelerated and paid if and when owing
       at a later time.

11/5/21 Tr. 108:6-16 (A.2829). The bankruptcy court held that section 1124(2)

overrides all “ipso facto” defaults and the consequences thereof, regardless of

whether the obligation being reinstated is an executory contract. 11/5/21 Tr. 110:7-

13 (A.2831). The bankruptcy court relied heavily on the “public policy behind the

bankruptcy code,” as well as legislative history stating that an unimpaired creditor

“has no cause to complain.” 11/5/21 Tr. 108:19–109:1 (A.2829-30).

       The bankruptcy court also held that unimpairment under section 1124(2) does

not just “‘de-accelerate the debt’”; it “‘rol[ls] back the clock to the time before the

default existed.’” 11/5/21 Tr. 109:12-16 (A.2830) (quoting In Re Onco Invest. Co.,


29
     The objections also opposed the Plan’s alternative “cram down” treatment of the
     First Lien Notes. The bankruptcy court, however, did not address those
     objections because of its holding that the First Lien Notes were unimpaired.

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316 B.R. 163, 167 (Bankr. D. Del. 2004)). Since section 1124(2) “rolls back the

clock to the time before the asserted default the applicable premium is not triggered

and is not, therefore, due and owing.” 11/5/21 Tr. 109:22-24 (A.2830).

       Finally, the bankruptcy court held that the Plan did not violate the First Lien

Noteholders’ rights under the Second Lien Intercreditor Agreement because the

default was cured. 11/5/21 Tr. 111:11-16 (A.2832). The court also held that the

intercreditor agreement was not implicated because the distributions the second lien

creditors were receiving were not on account of “Shared Collateral.” 11/5/21 Tr.

111:17 – 112:20 (A.2832-33).

       The bankruptcy court entered a Revised Opinion in support of confirmation

on February 8, 2022 (ECF 6378, A.2944). Among other things, the bankruptcy court

found that the Debtors’ enterprise value was more than $5 billion, which shows that

the approximately $3.3 billion in secured funded debt (which included the First Lien

Notes) was oversecured. Rev. Op. 84-85 (A.3027-28).30



30
     Subsequent to this appeal being filed, the Debtors successfully sought to extend
     their use of cash collateral through the Plan’s Effective Date, arguing:
       [T]he Court found, based on the evidence adduced at the confirmation
       hearing, that the Debtors have a reorganization enterprise value of over $5
       billion. In addition, the Debtors currently have approximately $1.228
       billion of cash on hand, for total assets of $6.228 billion. Accordingly, the
       value of the Prepetition Secured Parties’ collateral exceeds their debt
       (approximately $3.62 billion) by approximately $2.608 billion,
       representing an equity cushion of at least 72%.

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       The bankruptcy court entered its Confirmation Order on March 2, 2022 (ECF

6660, A.3240).31 Paragraph 253 stated that “[f]or the reasons set forth by the Court

on the record in the November 5, 2021 Ruling, the First Lien Noteholders’ Plan

Objections are overruled,”32 and that “[a]ll findings of fact and conclusions of law

set forth in the November 5, 2021 Ruling are expressly incorporated into this

Confirmation Order.” A.3394. Paragraph 153 (A.3325-26) further provided:

       On the Effective Date, subject to the terms of the Plan and this
       Confirmation Order, the obligations of the Debtors under the First Lien
       Notes, and the guarantees, mortgages, pledges, Liens, and other
       security interests granted pursuant thereto or in connection therewith,
       are hereby reinstated pursuant to Section 1124 of the Bankruptcy Code.
       Upon the occurrence of the Effective Date, no Default or Event of
       Default shall have occurred and be continuing under the First Lien
       Notes or the First Lien Notes Indenture.

       The Confirmation Order also stated (¶ 253, A.3394) that “[i]n light of the

Court’s conclusion—as stated in the November 5, 2021 Ruling—that the proposed




     Motion Of The Debtors For Entry Of Order Extending Outside Termination
     Date Under Cash Collateral Order By 30 Days And Granting Related Relief
     (ECF 7105) at 10 (A.3676) (footnotes omitted). This Court may take judicial
     notice of this filing. See United States v. Remoi, 404 F.3d 789, 793 n.1 (3d Cir.
     2005).
31
     Findings Of Fact, Conclusions Of Law, And Order Confirming Fourth Amended
     Joint Plan Of Reorganization (With Technical Modifications) Of Mallinckrodt
     PLC And Its Debtor Affiliates Under Chapter 11 Of The Bankruptcy Code. ECF
     6660 (A.3240).
32
     The only First Lien Noteholder objection the bankruptcy court sustained was to
     the Plan’s broad general release provisions, which the court gave the objecting
     holders the right to opt out of.

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treatment of the First Lien Notes Claims under the Plan satisfies 11 U.S.C. § 1124(2)

(i.e., reinstatement without payment of any First Lien Notes Makewhole Claim), the

Funded Debt Claim Objection is otherwise moot to the extent it addresses the First

Lien Notes Makewhole Claim.”

      Finally, the Confirmation Order purported to release any claims the First Lien

Noteholders had against the Second Lien Noteholders under the Second Lien

Intercreditor Agreement. Paragraph 253 stated:

      For the reasons set forth in the November 5, 2021 Ruling, the Holders
      of First Lien Notes Claims shall not have, and shall hereby be
      prohibited and enjoined from asserting, any claims (including, without
      limitation, for turnover of payments) against any of the Prepetition
      Secured Parties (as defined in the Cash Collateral Order) or their agents,
      advisors, or other representatives under any of the Intercreditor
      Agreements in any way arising from, relating to, or as a result of the
      Debtors’ restructuring, the Plan, the distribution of property or any
      payments made under the Plan, or any order of the Bankruptcy Court
      in this case, or any other transaction, agreement, event, omission or
      other occurrence taking place on or before the Effective Date related or
      relating to any of the foregoing.

A.3394.

      Appellant Ad Hoc First Lien Notes Group timely appealed on March 2, 2022

(A.3697). This appeal has been consolidated with the appeal of another First Lien

Notes holder (Columbus Hill, 22-cv-00330).         The First Lien Notes Indenture

Trustee’s appeal is stayed pending the resolution of this appeal (22-cv-00337).




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                          SUMMARY OF ARGUMENT

      The bankruptcy court incorrectly concluded that the First Lien Notes could be

validly reinstated at their original principal amount of $495,032,000, without regard

to the additional $94 million in Applicable Premium. To justify that conclusion, the

Debtors were required to demonstrate that the Plan leaves the First Lien Notes

unimpaired. That requirement is a demanding one, and the bankruptcy court erred

as a matter of law in concluding that the Debtors’ Plan satisfies it here.

      First, the Applicable Premium is expressly provided for in the First Lien

Indenture and is an allowable claim in bankruptcy. There is no general per se

prohibition on claims that mature upon a Debtors’ bankruptcy filing, whether in

Bankruptcy Code sections 502, 506, or otherwise. The bankruptcy court’s reliance

on “policy” to disregard the claim is contrary to the plain language of the Bankruptcy

Code and Supreme Court precedent rejecting “equitable” exceptions to the Code’s

plain language.

      Second, in order to reinstate the First Lien Notes, the Debtors were required

to cure and reinstate them under Bankruptcy Code section 1124(2). The bankruptcy

court erred in a number of respects in holding that the Debtors’ Plan satisfied section

1124(2), including by holding that (i) the exception to curing “a default of a kind

specified in section 365(b)(2)” applies to the non-executory First Lien Notes




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Indenture, and (ii) the curing of the default, even if permitted, negated the Applicable

Premium, which remained owing and was payable under section 1123(d).

      Third, even if the Debtors were not required to pay the full Applicable

Premium, at a minimum the Debtors must pay interest on the Applicable Premium

for the approximately 19 months that their chapter 11 cases have been pending prior

to any purported “reinstatement” of the First Lien Notes.

      Finally, even if section 1124(2) were to permit the Debtors to avoid the

consequences of their default, it does not protect non-debtors such as the Second

Lien Noteholders.     The bankruptcy court erred in granting the Second Lien

Noteholders a release of the First Lien Noteholders’ claims against them under the

Second Lien Intercreditor Agreement.

                                    ARGUMENT

I.    THE BANKRUPTCY COURT ERRED IN CONCLUDING THAT
      THE DEBTORS’ PLAN LEAVES THE FIRST LIEN
      NOTEHOLDERS UNIMPAIRED

      A.     The Applicable Premium Is An Allowable Claim In Bankruptcy,
             And The Bankruptcy Court Erred In Holding That The Claim
             Violated “Public Policy”

      The bankruptcy court held that the Applicable Premium “would be contrary

to the strong public policy behind the [B]ankruptcy [C]ode.” 11/5/21 Tr. 108:19-20

(A.2829).   According to the bankruptcy court, the Applicable Premium is an

improper “bankruptcy penalty,” and requiring the Debtors to pay it would violate

the Supreme Court’s admonition that “a party should not receive a ‘windfall merely

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by reason of the happenstance of the bankruptcy.’” 11/5/21 Tr. 109:2-19 (A.2830)

(quoting Butner v. United States, 440 U.S. 48, 55 (1979)).33 The bankruptcy court’s

reliance on generalized policy considerations was in error, and it cannot substitute

for the express terms of the Bankruptcy Code’s text. See Law v. Siegel, 571 U.S.

415, 425–26 (2014) (“equitable” considerations cannot override the Bankruptcy

Code’s express terms).

       Bankruptcy Code section 502 governs the allowance of claims in bankruptcy.

Under section 502(a), a claim is deemed allowed unless a party in interest objects.

If an objection is filed, the bankruptcy court “shall allow such claim . . . except to

the extent that” one of the nine enumerated exceptions to section 502(b) applies. As

discussed further below, none of the exceptions applies to the Applicable Premium.

       The Supreme Court has made clear that “we have long recognized that the

basic federal rule in bankruptcy is that state law governs the substance of claims,

Congress having generally left the determination of property rights in the assets of a

bankrupt’s estate to state law.” Travelers Cas. and Sur. Co. of America v. Pacific



33
     Butner actually supports Appellant’s position, holding that a secured party’s
     interest in a debtor’s property should be determined based on state law, rather
     than “a federal rule of equity.” 440 U.S. at 49, 56. The “windfall” with which
     the Supreme Court was concerned in Butner was not a creditor receiving its
     contractual rights under state law, but rather the creditor receiving different
     rights under “equitable” bankruptcy principles. Id. at 53. Thus, the Court held
     that to avoid a windfall, there must be “uniform treatment of property interests
     by both state and federal courts.” Id. at 55.

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Gas and Elec. Co., 549 U.S. 443, 450-51 (2007) (internal quotations omitted); see

also Raleigh v. Illinois Dep’t of Revenue, 530 U.S. 15, 20 (2000) (“The basic federal

rule in bankruptcy is that state law governs the substance of claims.” (internal

quotations omitted)).

       Here, the Applicable Premium arises under the First Lien Notes Indenture, an

agreement governed by New York law. § 14.08 (A.1594). The First Lien Notes

Indenture unambiguously provides for the payment of the Applicable Premium upon

acceleration of the loan. Id. § 6.02 (A.1566). The loan, in turn, was accelerated

based on the Debtors’ voluntary commencement of a case under “Bankruptcy Law.”

Id. §§ 6.01(f)(i), 6.02 (A.1564-66).34 New York law has long recognized the

enforceability of ipso facto provisions, including liquidated damages. See In re

United Merchants & Mfrs., Inc., 674 F.2d 134, 140-44 (2d Cir. 1982); In re School

Specialty, Inc., 2013 WL 1838513, at *2 (Bankr. D. Del. Apr. 22, 2013). Thus, the

Applicable Premium is an allowable claim under New York law and Bankruptcy

Code section 502. See Travelers, 549 U.S. 443, 450-53; United Merchants, 674 F.2d

at 143-44 (rejecting “bankruptcy policy” objection to ipso facto liquidated damages

claim under the Bankruptcy Act); see also AMR, 730 F.3d at 105-07 (finding

automatic acceleration of a debt enforceable in bankruptcy, notwithstanding section



34
     “Bankruptcy Law” includes “the Bankruptcy Code, or any similar Federal or
     state law for the relief of debtors.” Indenture § 6.01 final paragraph (A.1566).

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365(e)(1)’s limitations on enforcing ipso facto clauses in executory contracts). And,

because there is no dispute that there was more than enough collateral to cover the

Applicable Premium and all other secured funded debt, the Applicable Premium—

which is added to principal—is a fully secured claim under Bankruptcy Code section

506(a).

       The Supreme Court has made clear that “we generally presume that claims

enforceable under applicable state law will be allowed in bankruptcy unless they are

expressly disallowed” by the Bankruptcy Code.           Travelers, 549 U.S. at 452

(emphasis added). In Travelers, the Supreme Court rejected the bankruptcy policy-

based “Fobian rule,”35 which disallowed postpetition attorneys’ fees for unsecured

creditors.   The Supreme Court noted that when Congress wanted to disallow

attorneys’ fees, it knew how to do so with express language. Id. at 453 (citing section

502(b)(4)’s limitation on unreasonable prepetition fees incurred by the debtor). “The

existence of that provision suggests that, in its absence, a claim for such fees would

be allowed in bankruptcy to the extent enforceable under state law.” Id. The

Supreme Court explained that:

       the validity of a claim is generally a function of underlying substantive
       law. Bankruptcy courts are not authorized in the name of equity to
       make wholesale substitution of underlying law controlling the validity



35
     See In re Fobian, 951 F.2d 1149 (9th Cir. 1991) (abrogated by Travelers, 549
     U.S. at 453-54).

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      of creditors’ entitlements, but are limited to what the Bankruptcy Code
      itself provides.

Raleigh, 530 U.S. at 24-25.

      Nothing in Bankruptcy Code section 502 disallows the Applicable Premium.

Section 502(b) contains nine categories of disallowable claims, but none of them

disallows claims that arise in connection with the acceleration of debt, whether by

default or otherwise. Nor do any of the nine categories in section 502(b) disallow

claims based on so-called ipso facto defaults, notwithstanding Congress’ clear and

express references to such defaults in other provisions of the Code. See, e.g., 11

U.S.C. §§ 363(l), 365(b)(2), 365(e)(1), 541(c)(1)(B) & 545(1). The absence of any

such language in section 502 is compelling—Congress did not enact a general

prohibition on the allowance of claims such as the Applicable Premium. See

Travelers, 549 U.S. at 453; see also Patterson v. Shumate, 504 U.S. 753, 758 (1992)

(“The Code reveals, significantly, that Congress, when it desired to do so, knew how

to restrict the scope of applicable law to ‘state law’ and did so with some

frequency.”); Ellis v. Westinghouse Elec. Co., LLC, 11 F.4th 221, 235 (3d Cir. 2021)

(“Congress knew when not to include any carveout language . . . .”). If that had been

Congress’ intent, notwithstanding the plain language of the Code, then it is for

Congress to make that intent clear through further legislation:

      If Congress enacted into law something different from what it intended,
      then it should amend the statute to conform it to its intent. It is beyond



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       our province to rescue Congress from its drafting errors, and to provide
       for what we might think . . . is the preferred result.

Lamie v. U.S. Trustee, 540 U.S. 526, 542 (2004) (internal quotations omitted).36

       Any argument that the Applicable Premium could be disallowed under section

502(b)(1) would fail. Section 502(b)(1) disallows claims that are unenforceable

“under any agreement or applicable law.” As noted, the First Lien Notes Indenture

expressly provides for the payment of the Applicable Premium, and thus this case is

distinguishable from cases such as AMR and Momentive Performance Materials Inc.

v. BOKF, NA (In re MPM Silicones, L.L.C.), 874 F.3d 787 (2d Cir. 2017), in which

the Second Circuit held that the contractual prerequisites for the make-wholes had

not been satisfied.

       Nor does section 502(b)(1)’s reference to “applicable law” provide a basis for

disallowing the Applicable Premium on the basis of “bankruptcy policy.” Section

502(b)(1) incorporates non-bankruptcy law.         Travelers, 549 U.S. at 450 (“§

502(b)(1) is generally understood to ‘make available to the trustee any defense’

available to the debtor ‘under applicable nonbankruptcy law’” (quoting 4 Collier ¶



36
     The Third Circuit recently noted Professor Klee’s proposal that the reference to
     section 510(a) in section 1129(b) be eliminated, because a literal interpretation
     of the statute could lead to an “anomalous result.” See In re Tribune Co., 972
     F.3d 228, 239 (3d Cir. 2020) (citing Kenneth N. Klee, Adjusting Chapter 11:
     Fine Tuning the Plan Process, 69 Am. Bankr. L.J. 551, 561 (1995)). The court
     nonetheless held that “[a]s Congress has not changed the law to reflect Professor
     Klee’s proposal, we rely on the plain language of § 1129(b)(1).” Id.

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502.03[2] [b], at 502–22 (15th Ed. Rev.))). There is no prohibition in applicable

state law—here New York law—against the imposition of a claim upon a debtor’s

bankruptcy filing.

      In any event, the Bankruptcy Code does not contain a blanket prohibition on

“ipso facto” claims triggered by a bankruptcy default (or what the bankruptcy court

pejoratively labeled as a “bankruptcy penalty”). See AMR, 730 F.3d at 105-07;

United Merchs., 674 F.2d at 140-44. To be sure, a series of Code provisions

expressly limit the enforceability of ipso facto clauses in specified circumstances.

Section 541(c), for instance, provides that:

      an interest of the debtor in property becomes property of the estate . . .
      notwithstanding any provision in an agreement, transfer instrument, or
      applicable nonbankruptcy law . . . that is conditioned on . . . the
      commencement of a case under this title . . . , and that effects or gives
      an option to effect a forfeiture, modification, or termination of the
      debtor’s interest in property.

11 U.S.C § 541(c). And section 363(l) provides that:

      a plan under chapter 11, 12, or 13 of this title may provide for the use,
      sale, or lease of property, notwithstanding any provision in a contract
      . . . that is conditioned . . . on the commencement of a case under this
      title concerning the debtor . . . and that effects, or gives an option to
      effect, a forfeiture, modification, or termination of the debtor’s interest
      in such property.

11 U.S.C § 363(l).

      Neither of these provisions has the effect of disallowing claims against the

estate, such as the Applicable Premium. Rather, section 541 governs what property



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comes into the estate. But the fact that such property may be encumbered by a lien

is distinct from whether such property is property of the estate. The Bankruptcy

Code plainly recognizes that the debtor’s property is still property of the estate even

if it may be encumbered by a lien. See, e.g., 11 U.S.C. § 506(a)(1) (claim may be

“secured by a lien on property in which the estate has an interest,” and a secured

creditor has an “interest in the estate’s interest in such property”).37 As one

commentator has correctly recognized:

       By its terms, section 541(c)(1)(B) invalidates ipso facto clauses only to
       the extent that they cause a forfeiture, modification, or termination of
       an “interest in property” of the debtor that would otherwise enter the
       estate. Although Congress could have drafted a provision that would
       simply invalidate any contractual provision that negatively impacts a
       debtor as a result of a bankruptcy filing, the language of the statute
       is not that broad.

Emil A. Kleinhaus & Peter B. Zuckerman, The Enforceability of Ipso Facto Clauses

in Financing Agreements: American Airlines and Beyond, Norton J. Of Bankr. Law

& Prac., Vol. 23, No. 2 at 197 (2014) (emphasis added) (“Kleinhaus & Zuckerman”).

       Similarly, although section 363(l) permits a debtor to use property

notwithstanding an “ipso facto” restriction on such use, that is a far cry from

disallowing all ipso facto claims under section 502.



37
     If section 541(c)(1)(B) (or section 363(l), for that matter) included a blanket
     prohibition on all claims that arise upon a bankruptcy filing, there would have
     been no reason for Congress to include section 545(1)(A) in the Code, which
     specifically bars the attaching of statutory liens upon a bankruptcy filing.

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       Like section 541(c)(1)(B), section 363(l) has not generally been treated
       by courts as a basis to invalidate ipso facto clauses in loan agreements.
       By its terms, the statute protects the debtor’s ability to use its property;
       it does not speak to creditor recoveries or the claims allowance
       process.

Kleinhaus & Zuckerman at 198 (emphasis added).38

       Thus, far from supporting a generalized policy against the enforcement of ipso

facto clauses, these Code provisions in fact confirm the opposite conclusion. As the

Second Circuit explained in AMR, these provisions “demonstrate that Congress

clearly knows how to limit or negate the effect of ipso facto clauses when it wants

to,” and their “specificity . . . counsels against the position . . . that ipso facto

provisions are broadly or categorically denied enforcement by the Code.” 730 F.3d

at 107. Especially because Congress took care to specify the circumstances under

which ipso facto clauses may not be enforced, “[t]he absence of textual support is

fatal” to any suggestion that the Code prohibits the enforcement of ipso facto clauses

in all circumstances. Id. (alteration in original) (quoting Travelers, 549 U.S. at 452);

see also In re General Growth Props., Inc., 451 B.R. 323, 330 (Bankr. S.D.N.Y.

2011) (holding that ipso facto clauses “are not per se invalid . . . except where



38
     By contrast, Congress knew how to disallow claims when it intended to do so,
     whether in section 502 or otherwise. See, e.g., 11 U.S.C. § 1305(c) (“A claim
     filed under subsection (a)(2) of this section shall be disallowed if the holder of
     such claim knew or should have known that prior approval by the trustee of the
     debtor’s incurring the obligation was practicable and was not obtained.”
     (emphasis added)).

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contained in an executory contract or unexpired lease” addressed by section 365(b)

of the Code).39

        More broadly, disallowance of the Applicable Premium cannot be squared

with the Supreme Court’s direction that, because the “Bankruptcy Code standardizes

an expansive (and sometimes unruly) area of law,” the Code should be “interpret[ed]



39
     The Debtors relied below on two policy-based decisions, neither of which was
     cited by the bankruptcy court in its decision, and neither of which addresses the
     Bankruptcy Code’s plain language or is otherwise persuasive.
     W.R. Grace from this District states (in what is arguably dicta) that the court
     “agree[d] with the general trend of the federal courts that the prohibition against
     ipso facto clauses is not limited to actions based upon §§ 541(c) and 365(e).” In
     re W.R. Grace & Co., 475 B.R. 34, 154 (D. Del. 2012). In reaching its decision,
     the court invoked the “purpose” of bankruptcy—“to provide the debtor with a
     ‘fresh start’”—and concluded that “enforcement of ipso facto clauses,” including
     in loan agreements, “would punish debtors by negating this central purpose.” Id.
     at 152. The court failed, however, to address the absence of any language
     disallowing ipso facto claims in section 502 and the instruction in Travelers that
     “[t]he absence of textual support is fatal.” 549 U.S. at 452. Nor did the court
     have the benefit of the Supreme Court’s subsequent decision in Law v. Siegel,
     holding that equitable considerations cannot override the Bankruptcy Code’s
     plain language. 571 U.S. at 425–26. In any event, “[t]he W.R. Grace court’s
     discussion of default interest was arguably unnecessary because the court went
     on to find that the unsecured lenders were not entitled to any post-petition interest
     under section 502(b)(2) of the Bankruptcy Code . . . .” Kleinhaus & Zuckerman
     at 202.
     The Debtors also cited a since-vacated, unpublished oral ruling in EP Energy,
     which stated (with no citations) that an ipso facto claim “is inconsistent with the
     public policy.” See ECF 5017 Ex. 1 (A.2709) (March 6, 2020 transcript in In re
     EP Energy Corp., case no. 19-35654 (Bankr. S.D. Tex. 2020)); see also EP
     Energy D.I. 1103 (March 23, 2020 order vacating confirmation). As with W.R.
     Grace, E.P. Energy cannot be squared with the absence of any language
     disallowing ipso facto claims in section 502.

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. . . clearly and predictably using well established principles of statutory

construction.” RadLAX Gateway Hotel, LLC v. Amalgamated Bank, 566 U.S. 639,

649 (2012). Those principles do not license courts to augment the Code’s carefully

articulated (and limited) rules governing the enforcement of ipso facto clauses based

on their own views of proper bankruptcy policy.         See id. (“[N]othing in the

generalized statutory purpose of protecting secured creditors can overcome the

specific manner of that protection which the text of § 1129(b)(2)(A) contains.”). Yet

that is precisely what the bankruptcy court did here. The bankruptcy court’s holding

that ipso facto claims violate “bankruptcy policy” cannot be squared with the plain

language of the Bankruptcy Code. See Hartford Underwriters, 530 U.S. at 6

(“[W]hen the statute’s language is plain, the sole function of the courts—at least

where the disposition required by the text is not absurd—is to enforce it according

to its terms.”) (internal quotations omitted).

      Finally, the Debtors argued below that the Applicable Premium may

constitute “unmatured interest,” but the substantial weight of authority holds that

make-wholes are liquidated damages, and not interest.        See, e.g., In re Ultra

Petroleum Corp., 624 B.R. 178, 184 (Bankr. S.D. Tex. 2020); In re Trico Marine

Servs., Inc., 450 B.R. 474, 480-81 (Bankr. D. Del. 2011) (collecting cases). In any

event, even if the Applicable Premium were considered “unmatured interest” under

section 502(b)(2), it would be allowed for the First Lien Noteholders’ fully secured



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claim under section 506(b). Either the Applicable Premium is “interest,” and thus

allowable under section 506(b), or it is not “interest,” in which case it is not subject

to disallowance under section 502(b)(2).

      B.     Consistent With The Bankruptcy Code’s Strong Presumption Of
             Impairment, Reinstatement Of The First Lien Notes Requires
             Strict Compliance With Section 1124

      Because the Applicable Premium is an allowable claim in bankruptcy, the

Debtors were required to honor it in order to unimpair the First Lien Notes. To the

contrary, the Plan as confirmed by the bankruptcy court authorizes the Debtors to

disregard completely the Applicable Premium.

      Impairment is governed by section 1124, which provides that “a class of

claims or interests is impaired under a plan” unless the plan complies with one of

two narrowly circumscribed exceptions.            Because an unimpaired class is

conclusively presumed to accept a plan and not entitled to vote, see § 1126(f), the

Code defines impairment “in the broadest possible terms.” In re Madison Hotel

Assocs., 749 F.2d 410, 418 (7th Cir. 1984); see also, e.g., In re L & J Anaheim

Assocs., 995 F.2d 940, 942 (9th Cir. 1993); In re Taddeo, 685 F.2d 24, 28 (2d Cir.

1982).     “[E]ven the slightest impairment will entitle a creditor to vote on

confirmation.” In re Wilhelm, 101 B.R. 120, 122 (Bankr. W.D. Mo. 1989) (emphasis

added).




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      As the Third Circuit has emphasized, section 1124 embodies a strong

“presumption of impairment ‘so as to enable a creditor to vote on acceptance of the

plan.’” In re PPI Enters. (U.S.), Inc., 324 F.3d 197, 203 (3d Cir. 2003) (internal

quotations omitted). As the proponents of the Plan, it was the Debtors’ burden to

overcome that presumption. Id.; see also, e.g., In re Reuter, 427 B.R. 727, 773

(Bankr. W.D. Mo. 2010), aff’d, 443 B.R. 427 (B.A.P. 8th Cir. 2011), aff’d, 686 F.3d

511 (8th Cir. 2012).

      Under section 1124(1), a class of claims is unimpaired under a plan only if the

plan “leaves unaltered the legal, equitable, and contractual rights to which such claim

. . . entitles the holder of such claim.” 11 U.S.C. § 1124(1). It is common ground

that this provision does not authorize reinstatement of the First Lien Notes Claims—

either with or without payment of the Applicable Premium. As noted above, under

the terms of the First Lien Notes Indenture, the outstanding principal amount of the

First Lien Notes was immediately accelerated upon the Debtors’ bankruptcy filing.

See pp. 7-13 supra; First Lien Notes Indenture § 6.02 (A.1566). Rather than paying

the amounts due under the terms of the First Lien Notes Indenture, however, the

Debtors’ Plan leaves the First Lien Notes outstanding, such that the First Lien

Noteholders must await repayment over time. Thus, the Plan indisputably alters the

First Lien Noteholders’ contractual right to receive immediate payment, and the First

Lien Notes Claims cannot be deemed unimpaired under section 1124(1).



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      The Plan’s reinstatement treatment for the First Lien Notes thus rests on

section 1124(2), which “builds on” the exception set forth in section 1124(1) by

“allow[ing] for only one alteration, the deceleration of a debt following a default.”

In re K Lunde, LLC, 513 B.R. 587, 595 (Bankr. D. Colo. 2014); see also Taddeo,

685 F.2d at 28 (Section 1124(2) “carve[s] out a small exception to impairment”).

Section 1124(2) provides that a class of claims or interests is unimpaired if the plan,

      notwithstanding any contractual provision or applicable law that entitles the
      holder of such claim or interest to demand or receive accelerated payment of
      such claim or interest after the occurrence of a default—

      (A) cures any such default that occurred before or after the commencement of
      the case under this title, other than a default of a kind specified in section
      365(b)(2) of this title or of a kind that section 365(b)(2) expressly does not
      require to be cured;

      (B) reinstates the maturity of such claim or interest as such maturity existed
      before such default;

      (C) compensates the holder of such claim or interest for any damages incurred
      as a result of any reasonable reliance by such holder on such contractual
      provision or such applicable law;

      (D) if such claim or such interest arises from any failure to perform a
      nonmonetary obligation, other than a default arising from failure to operate a
      nonresidential real property lease subject to section 365(b)(1)(A),
      compensates the holder of such claim or such interest (other than the debtor
      or an insider) for any actual pecuniary loss incurred by such holder as a result
      of such failure; and

      (E) does not otherwise alter the legal, equitable, or contractual rights to which
      such claim or interest entitles the holder of such claim or interest.

11 U.S.C. § 1124(2). Thus, “[s]ubsection (2) on its face is concerned only with a

contract provision requiring ‘accelerated payment’ upon a default, and the statute


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permits the debtor to de-accelerate and reinstate the pre-default maturity of the loan

only if the plan ([E]) ‘does not otherwise alter’ the secured creditor’s contractual

rights.” In re 139-141 Owners Corp., 313 B.R. 364, 368 (S.D.N.Y. 2004).

      C.     The Plan Impairs The First Lien Noteholders By Extinguishing
             Their Contractual Right To Receive The Applicable Premium

      The bankruptcy court erred in holding that, by purporting to unimpair the First

Lien Notes, the Debtors were relieved from honoring the Applicable Premium.

      First, the bankruptcy court erred in holding that the Debtors were excused

from curing the default caused by their bankruptcy. The default was not “of a kind

specified in section 365(b)(2),” because the First Lien Notes Indenture is not an

executory contract governed by section 365.

      Second, even if the Debtors were excused from curing their bankruptcy

default, that would not excuse them of having to satisfy the Applicable Premium,

which itself is an allowable claim in the Debtors’ bankruptcy. De-acceleration of

the First Lien Notes—even if it were properly accomplished under section

1124(2)—would not cause the Applicable Premium to disappear. Section 1123(d)

mandates that “if it is proposed in a plan to cure a default the amount necessary to

cure the default shall be determined in accordance with the underlying agreement

and applicable nonbankruptcy law.” Moreover, the Debtors’ failure to pay the

Applicable Premium itself represents an additional default under the First Lien

Indenture, which must be cured in order for the First Lien Notes to be unimpaired.


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Thus, even assuming that the Debtors were not required to cure the default caused

by their bankruptcy filing, reinstatement of the First Lien Notes would not excuse

the Debtors from their obligation to pay the Applicable Premium.

             1.     Section 1124(2) Does Not Excuse The Debtors From Curing
                    In Order To Reinstate The First Lien Notes

      The bankruptcy court held (11/5/21 Tr. 110:7-13, A.2831) that no cure was

necessary because of section 1124(2)(A)’s caveat that a plan need not cure “a default

of a kind specified in section 365(b)(2) of this title or of a kind that section 365(b)(2)

expressly does not require to be cured.” 11 U.S.C. § 1124(2)(A). But section 365

governs “default[s] in an executory contract or unexpired lease of the debtor.” 11

U.S.C. § 365(b)(1) (emphasis added). It has no application to defaults under a non-

executory debt contract, such as the First Lien Notes Indenture. See In re Moody

Nat’l SHS Houston H, LLC, 426 B.R. 667, 673-74 (Bankr. S.D. Tex. 2010) (proviso

held inapplicable because “[a] mortgage note is neither a lease nor an executory

contract”); see also In re General Growth Props., Inc., 451 B.R. at 327-31 (awarding

default-rate interest triggered by bankruptcy default, where non-executory debt

contract was reinstated by plan); In re A & B Assocs., L.P., 2019 WL 1470892, at

**46-47 & n.59 (Bankr. S.D. Ga. Mar. 29, 2019) (“the Court finds that the Loan

Agreement here is not an executory contract, that its ipso facto clause is not subject

to § 365(e)(1), and that the Debtor’s filing of this Chapter 11 case constituted an




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event of default,” and creditor’s “entitlement to default interest was triggered by the

bankruptcy filing itself”).

      The bankruptcy court nonetheless concluded that the cross-reference to

section 365(b)(2) “merely incorporates the definition in Section 365(b)(2) of the

types of defaults that do not need to be cured, i.e., a bankruptcy filing,” but “does

not in any way incorporate the requirement in Section 365 that would apply only to

executory contracts.” 11/5/21 Tr. 110:9-13 (A.2831). But that conclusion ignores

the fact that section 365 governs only executory contracts and unexpired leases. See

11 U.S.C. § 365(a), (b)(1). It follows that the “kind” of defaults “specified in section

365(b)(2)” must be similarly limited. Contrary to the bankruptcy court’s conclusion,

defaults in other contracts are a different “kind” of default, which are not excluded

from section 1124(2)(A)’s cure obligation.

      The bankruptcy court’s overly broad reading of the phrase “of a kind”

conflicts with other courts that have interpreted similar language in other provisions

of the Code. As one court aptly explained:

      Congress used the phrase “of a kind” in at least 35 other places in the
      Bankruptcy Code. Viewed in the context of its broader statutory usage,
      “of a kind” captures the elements or characteristics specified in another
      section of the Bankruptcy Code and makes the incorporated provision
      a condition for satisfaction of the section making the reference. For
      example, 11 U.S.C. § 726(b) provides for payment on claims “of a kind
      specified” in paragraphs (1) through (8) of 11 U.S.C. § 507(a). In Stuart
      v. Carter (In re Larsen), 59 F.3d 783, 787 (8th Cir. 1995), the Eighth
      Circuit reached the reasonable conclusion that the phrase “of the kind
      specified in section 507(a)(1)” in § 726(b) limits the first priority of

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       distribution to claims that first “qualify as administrative expense
       claims” under the referenced subparagraphs of § 507(a). This straight
       forward interpretation of “of the kind” makes sense elsewhere in the
       Bankruptcy Code.

In re Bartomeli, 303 B.R. 254, 270 n.24 (Bankr. D. Conn. 2004) (quoting In re Jones,

296 B.R. 447, 449 (Bank. M.D. Tenn. 2003), footnotes omitted); see also In re

Satellite Restaurants Inc. Crabcake Factory USA, 626 B.R. 871, 875-79 (Bankr. D.

Md. 2021) (exclusion from small business debtor’s discharge of debts “of the kind

specified in section 523(a)” (§ 1192(1)) only applies to debts of an individual small

business debtor, because only individuals are included within the purview of section

523(a)).40

       Finally, to the extent there is any ambiguity in section 1124(2) and its use of

the phrase “of a kind,” it must be resolved in favor of the First Lien Noteholders.

Because of the critical interests at stake when a bankruptcy court is asked to find that

a creditor is unimpaired—and thus to disenfranchise that creditor from voting on a

proposed plan, the “best interests” test, and “fair and equitable” protection—the

Code creates a strong “presumption of impairment.” PPI Enters., 324 F.3d at 203.




40
     The Debtors below cited AMR, 730 F.3d at 108-09, as an example of a case in
     which the phrase “of a kind specified in section 365(b)(2)” was applied to a non-
     executory contract. However, the provision at issue in AMR—section 1110—
     makes clear through express language that it applies not only to leases and sales
     contracts, but also to non-executory “security agreements.” No such language
     exists in section 1124(2)(A).

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By concluding that any ambiguity would be resolved against a conclusion of

impairment, the bankruptcy court effectively reversed that presumption.

      Honoring the Code’s presumption of impairment is particularly warranted in

this case, where the parties expressly contemplated the possibility of a future

bankruptcy filing and deliberately chose contractual language to ensure that the

Debtors’ obligation to pay the Applicable Premium would be binding and

enforceable, including in bankruptcy. See pp. 7-13, supra. By accepting the

Debtors’ reinstatement argument, the bankruptcy court upset that carefully

negotiated bargain, thereby eliminating what the Debtors candidly acknowledged to

be a “material inducement” to the new First Lien Noteholders at the time the notes

were issued. First Lien Notes Indenture § 6.02 (A.1566). In that respect, it was the

Debtors that were permitted to receive a “windfall merely by reason of the

happenstance of the bankruptcy,” Butner, 440 U.S. at 55. Section 1124—under

which a creditor’s legal, equitable, and contractual rights must generally be left

unaltered—offers no support for that result.




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             2.     Even If The Debtors Were Not Required To Cure Their
                    Bankruptcy Default, Section 1124(2) Does Not Disallow Or
                    Otherwise Override The Debtors’ Obligation To Pay The
                    Applicable Premium

                    a.     Unimpairment Does Not Disallow The First Lien
                           Noteholders’ Allowable Claim For The Applicable
                           Premium

      As explained above, the bankruptcy court’s conclusion that reinstatement of

the First Lien Notes was permissible without paying the Applicable Premium rests

on section 1124(2)’s “small exception to impairment.” Taddeo, 685 F.2d at 28. But

section 1124(2) has no application to the Debtors’ failure to pay the Applicable

Premium.

      Section 1124(2) permits a debtor to “cure[],” or be excused from curing,

certain kinds of defaults—in particular, “such default[s]” (and only “such

default[s]”) that “entitle[] the holder of such claim . . . to demand or receive

accelerated payment of such claim . . . after the occurrence of a default.” As a matter

of basic grammar, the phrase “such default” necessarily refers back to the particular

kind of “default” described in section 1124(2)’s introductory clause—that is, a

default that gives rise to acceleration of a creditor’s claim. Section 1124(2) thus

has a limited domain, authorizing a debtor to reverse a contractual or legal

acceleration by curing the default that led to that acceleration.

      Here, the default that gave rise to acceleration was the commencement of the

Debtors’ chapter 11 cases. First Lien Notes Indenture § 6.01(f) (A.1564-65). That


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default resulted in the automatic acceleration of the prepetition principal of the First

Lien Notes under section 6.02, and thus it is that default which section 1124(2)

requires to be cured or, if applicable, excused as “a kind specified in section

365(b)(2).”41

       “Curing” the bankruptcy default, however, does not cause the Applicable

Premium to disappear.        The Applicable Premium matured immediately and

automatically upon the bankruptcy filing, and nothing in the First Lien Notes

Indenture causes it to “unmature.” Although the First Lien Notes Indenture allows

the Debtors to undo the effects of some defaults, that is not the case with the




41
     Notably, the Applicable Premium was not “accelerated” by the bankruptcy
     filing. It was a contingent obligation triggered by the Debtors’ bankruptcy filing,
     and thus was not something that even could be accelerated. Acceleration refers
     to “[t]he advancing of a loan agreement’s maturity date so that payment of the
     entire debt is due immediately.” Black’s Law Dictionary (11th ed. 2019); see
     also Energy Future Holdings, 842 F.3d at 259 (“[A]cceleration, by definition,
     advances the maturity date of the debt . . . .”) (alteration in original). The
     obligation to pay the Applicable Premium is distinct from the acceleration of the
     First Lien Notes—it is a new charge that the Debtors became liable to pay upon
     triggering an Event of Default through their bankruptcy filings. The Applicable
     Premium is expressly “[i]n addition” to the obligation to pay those accelerated
     amounts. First Lien Notes Indenture § 6.02. It follows that, because Section
     6.02 of the First Lien Notes Indenture is not a contractual provision that “entitles
     the holder of such claim . . . to demand or receive accelerated payment . . . after
     the occurrence of a default,” 11 U.S.C. § 1124(2), section 1124(2) offers no basis
     for the Debtors’ refusal to pay the Applicable Premium. Under section
     1124(2)(E), reinstatement cannot “otherwise alter the legal, equitable, or
     contractual rights” of the First Lien Noteholders to the Applicable Premium.

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Applicable Premium, which can only be waived by the noteholders themselves. First

Lien Indenture § 6.02 (A.1566-67).42

       Nothing in section 1124(2) changes this result. Even if the Debtors may

reinstate the original maturity of the First Lien Notes, they cannot adjust the

principal amount of the First Lien Notes, which includes the applicable premium as

a result of the default. First Lien Notes Indenture § 6.02 (A.1566). Those are plainly

distinct terms of the parties’ contractual agreement, and a conclusion that section

1124(2) authorizes adjustment of the former term (through de-acceleration of

amounts that would otherwise be immediately due) says nothing about the latter.

Reducing the outstanding principal amount of the First Lien Notes, as the bankruptcy

court allowed the Debtors to do here by disregarding the Applicable Premium, is

plainly an alteration of the First Lien Noteholders’ “legal, equitable, or contractual

rights.” That, in turn, makes reinstatement unavailable under these circumstances.

       The bankruptcy court nevertheless held that reinstatement under section

1124(2) operates not only to “de-accelerate the debt,” but also to “rol[l] back the

clock to the time before the default existed.” 11/5/21 Tr. 109:12-19 (A.2830)



42
     Many of the defaults set forth in Section 6.01 of the First Lien Notes Indenture
     have either grace periods or opportunities to cure (e.g., 6.01(c) (90-day period
     after written notice to cure certain covenant defaults)). A.1564-66. The
     assessment of the Applicable Premium under Section 6.02, however, is
     immediate and automatic, and can be rescinded only by the holders of a majority
     of the First Lien Notes. A.1566-67.

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(quoting Onco, 316 B.R. at 167).         The court reasoned that “[t]he Applicable

Premium is only triggered upon acceleration of the notes in connection with an event

of default” and that “Section 1124(2) rolls back the clock to the time before the

asserted default,” and thus concluded that “the [A]pplicable Premium is not triggered

and is not, therefore, due and owing.” 11/5/21 Tr. 109:20-24 (A.2830).

      Nothing in section 1124(2) supports the bankruptcy court’s conclusion that

reinstatement operates as a time-travel machine. Section 1124(2) provides that a

plan may reinstate the maturity of an obligation. It does not, however, provide that

a plan may alter the amount of the obligation, or strip away portions of the claim the

debtor does not like. To the contrary, section 1124(2)(E) makes clear that the plan

cannot “otherwise alter the legal, equitable, or contractual rights to which such claim

or interest entitles the holder of such claim or interest.” In short, section 1124 is not

a claims disallowance provision—that role is left to section 502(b) and the handful

of other provisions in the Code that specifically address claims disallowance. See

pp. 23-34, supra.

      To be sure, section 1124(2) operates to return a debtor to pre-default

conditions in one respect: The plan must “reinstate[] the maturity of such claim . . .

as such maturity existed before such default” that gave rise to acceleration. 11

U.S.C. § 1124(2)(B). But although “reinstat[ing] the maturity” of the First Lien

Notes would permit the Debtors to avoid their obligation to pay the accelerated



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principal amount immediately, it does not modify their obligation to pay the

Applicable Premium that is expressly “[i]n addition” to that accelerated amount.

First Lien Notes Indenture § 6.02. A.1566.

      The bankruptcy court’s turn-back-the-clock theory has been rejected by

numerous courts. As one court recently explained:

      At its base, § 1124 concern[s] de-acceleration and reinstatement of the
      original maturity date of a loan upon curing of a default. [It] say[s]
      nothing about eliminating otherwise enforceable, accrued default
      interest which would have to be paid as part of the default cure. The
      key here is that § 1124(2) applies to accelerated payment, and that is all
      it does. The point of § 1124(2) is to deaccelerate—it does not invalidate
      all ipso facto defaults, it only reverses acceleration arising out of ipso
      facto defaults. Section 1124 simply provides no basis to nullify the
      post-petition default interest claimed by [a creditor] to the extent it is
      otherwise allowable under [the creditor’s] loan documents and
      applicable nonbankruptcy law.

In re John Q. Hammons Fall 2006, LLC, 612 B.R. 779, 804–05 (Bankr. D. Kan.), as

amended (Jan. 21, 2020), on reconsideration, 614 B.R. 371 (Bankr. D. Kan. 2020)

(internal quotations and footnotes omitted).

      Similarly, the Southern District of New York bankruptcy court recently

explained:

      several recent appellate decisions from other circuits have centered on
      the separate roles of default interest and acceleration as consequences
      of default in the context of the debtor’s ability to “turn back the clock”
      pursuant to 1123(a)(5)(G) and 1322(b)(3), which authorize a Chapter
      11 or 13 plan to “provide for curing or waiving any default.” See In re
      New Investments, Inc., 840 F.3d 1137 (9th Cir. 2016); Anderson v.
      Hancock, 820 F.3d 670, 672 (4th Cir. 2016). Both courts ruled that
      while a debtor may utilize bankruptcy to cure a pre-petition default in


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       order to de-accelerate the loan, a debtor is not entitled to “cure” the
       imposition of default interest following the default.

In re 1111 Myrtle Ave. Grp., LLC, 598 B.R. 729, 737 n.4 (Bankr. S.D.N.Y. 2019).

       In New Investments, the Ninth Circuit rejected the debtor’s argument that

reinstatement under section 1124(2) eliminated the debtor’s obligation to pay default

interest and fees. The court held:

       the borrower does not effectuate a cure merely by paying past due
       installments of principal at the pre-default interest rate. Rather, the
       borrower’s cure obligations may also include late charges, attorneys’
       and trustee’s fees, and publication and court costs. . . . It is only once
       these penalties are paid that the debtor can return to pre-default
       conditions as to the remainder of the loan obligation.

840 F.3d at 1141-42 (internal quotations and citations omitted).43

       Finally, the one authority on which the bankruptcy court relied for its turn-

back-the-clock theory—Onco—provides no support. In that case, the senior creditor

conceded that cure and reinstatement under section 1124(2) relieved the debtor from

satisfying a make-whole. 316 B.R. at 166. Thus, the key issue in this case was not

contested. The only issue actually contested in Onco was whether the creditor could

recover the make-whole from other, subordinated creditors. The court held that the


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     Similarly, in Anderson v. Hancock, the Fourth Circuit held that “cure” under
     section 1322(b)(3) “focuses on the ability of a debtor to decelerate and continue
     paying a loan, thereby avoiding foreclosure.” 820 F.3d at 674. The court
     rejected the debtors’ position that “a cure thus unravels every consequence of
     default, and returning to pre-default conditions for an increased interest rate
     requires decreasing the interest rate back to its pre-default amount.” Id. at 675
     (internal quotations and punctuation omitted).

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language of the applicable subordination agreement—which differs materially from

the intercreditor language in this case—did not allow such recovery. Id. at 166-67.

In what was arguably dicta, the court then stated that its conclusion as to the

agreement’s meaning was consistent with “the intended effect of reinstatement under

section 1124(2).” Id. at 167. The Onco court’s sole purported support for that

proposition was the Second Circuit’s decision in Taddeo. But in Taddeo—a chapter

13 case—the only issue was whether the debtor could de-accelerate the loan; there

was no contention that the debtor could also avoid payment of any additional charges

that arose on account of the default. See 685 F.2d at 26-27. Nothing in the plain

language of section 1124 (or anywhere else in the Code) provides for the

disallowance of claims simply because they are “unimpaired.”

                   b.     Section 1123(d) Requires Payment Of The Applicable
                          Premium

      The analysis under section 1124(2) should end here: Even if section 1124(2)

permits the Debtors to ignore their bankruptcy default, it does not override the

Debtors’ obligation to pay the Applicable Premium (or at a minimum to include it

in the reinstated principal amount of the First Lien Notes). But to the extent section

1124(2) leaves any doubt, section 1123(d) dispels it.

      Bankruptcy Code section 1123(d) provides that the “amount necessary to cure

[a] default shall be determined in accordance with the underlying agreement and

applicable nonbankruptcy law.” Thus, curing the Debtors’ default would require


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payment of the Applicable Premium, as the amount provided in the “underlying

agreement” governing the First Lien Notes.          The bankruptcy court’s decision

“ignore[d] the clear mandate of § 1123 that allows a creditor to demand default-rate

interest as a condition for reinstating the loan.” In re Sagamore Partners, Ltd., 620

F. App’x 864, 869 (11th Cir. 2015); see also In re 1 Ashbury Ct. Partners, L.L.C.,

2011 WL 4712010, at *4 (Bankr. D. Kan. Oct. 5, 2011) (section 1123 provides that

“cure and reinstatement require[s] more than simply rolling back the clock as some

courts had held”).

             3.      The Plan Does Not Compensate The First Lien Noteholders
                     For Reasonable Reliance Damages

      Reinstatement of the First Lien Notes was also impermissible because the Plan

makes no effort to “compensate[]” the First Lien Noteholders “for any damages

incurred as a result of any reasonable reliance . . . on such contractual provision” that

entitles them to demand or receive accelerated payment. 11 U.S.C. § 1124(2)(C).

Because compliance with section 1124(2)(C)’s compensation obligation is a

mandatory prerequisite to reinstatement, the Plan’s failure to provide for such

compensation means that the First Lien Notes cannot be deemed unimpaired.

      The bankruptcy court discounted that failure by suggesting that the First Lien

Noteholders had not asserted “that they have any uncompensated damages.” 11/5/21

Tr. 110:14-18 (A.2831). In fact, however, the First Lien Noteholders specifically

argued that the Plan’s failure to provide compensation for any reliance damages was


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a basis to deny confirmation. ECF 4709 at 21 (A.1386). And they explained that

damages could be required, among other bases, (i) in an amount equal to the

Applicable Premium, which the Debtors agreed would provide a “reasonable

calculation of each holder’s lost profits” in the event of acceleration of the First Lien

Notes, First Lien Notes Indenture § 6.02; or (ii) to compensate the First Lien

Noteholders for the differential between the interest rate on the First Lien Notes and

the higher interest rate that would have been required in the absence of the Debtors’

agreement to pay the Applicable Premium upon a bankruptcy filing. Id. at 22

(A.1387). The bankruptcy court appears to have simply overlooked the First Lien

Noteholders’ arguments on this point.44



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     The First Lien Noteholders also noted that Judge Isgur’s oral confirmation ruling
     in EP Energy highlighted the Debtors’ failure to comply with section
     1124(2)(C). The Debtors had invoked that oral ruling, in which Judge Isgur
     concluded that certain secured notes could be reinstated without payment of a
     premium that had been triggered when those notes were accelerated upon the
     bankruptcy filing. As noted above (p. 32 n.39, supra), that oral ruling offers
     limited persuasive support for the bankruptcy court’s reinstatement conclusion
     here, given that Judge Isgur vacated his ruling shortly after it was entered, and
     the ruling was therefore never subject to appeal. See Order Vacating Order
     Confirming Plan, In re EP Energy Corp., No. 19-35654 (Bankr. S.D. Tex. Mar.
     23, 2020; D.I. 1103 in that case). But even as Judge Isgur permitted
     reinstatement, he also made clear that the plan needed to provide for payment of
     any section 1124(2)(C) reliance damages established by the noteholders in post-
     confirmation proceedings. See ECF 5017 Ex. 1 (A.2713) (March 6, 2020 EP
     Energy transcript at 19), see also EP Energy Confirmation Order ¶ K.8 (Mar.
     12, 2020; D.I. 1049 in that case) (establishing procedures for post-confirmation
     litigation). Here, the Debtors’ Plan makes no provision for payment of reliance
     damage, and thus is facially non-compliant with section 1124(2)(C).

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             4.     At A Minimum, The Debtors’ Cure Obligation Requires
                    Payment Of Interest On The Applicable Premium During
                    The Pendency Of Their Bankruptcy Cases

      At a bare minimum, the Debtors’ cure obligation requires payment of interest

on the Applicable Premium that has accrued during their bankruptcy cases. As of

the filing of this brief, that amount would be approximately $15 million, or less than

2% per annum based solely on the pre-bankruptcy principal of $495 million.

      Here, one effect of the Debtors’ default is that the Applicable Premium

became immediately due and owing, but another effect is that interest has accrued

on the Applicable Premium, which was automatically added to the outstanding

principal amount of the First Lien Notes on the Petition Date. The Debtors have

never paid any of the additional interest that has accrued on the Applicable Premium

since their bankruptcy filing. Nor have the Debtors paid any default interest to the

First Lien Noteholders during the 19-month pendency of their cases, because the

Applicable Premium and interest thereon—rather than default interest—are the

additional charges that the parties expressly agreed to in the First Lien Notes

Indenture (other than the customary right to reimbursement of fees and expenses).

This is so even though some other secured creditors have received postpetition

interest at their default rate. See ECF 586 at 28 (A.0284) (providing for an additional

2% of postpetition interest—above the non-default rate—for credit agreement

lenders).



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      Although this alternative argument was pressed below, the bankruptcy court

appears to have overlooked it. For their part, the Debtors appear to have adopted a

circular theory of cure, under which reinstatement operates retroactively and allows

them to proceed as though the First Lien Notes had never been accelerated. On that

(mistaken) view, the Debtors could invoke reinstatement to return to pre-default

conditions without first satisfying the cure obligations that were triggered by their

default.   The Debtors appeared to assume that (i) payment of the Applicable

Premium is not required to reinstate the First Lien Notes; and (ii) for that reason,

they may proceed as though the Applicable Premium never came due, and thus

refuse to pay the accrued interest on the Applicable Premium.

      But even if the Debtors were correct on proposition (i)—and they are not, for

the reasons we have explained above—proposition (ii) still would not follow. Under

section 1124(2)(A), payment of cure is a prerequisite to reinstatement. The Debtors

must therefore cure their separate default in payment of interest on the Applicable

Premium before the First Lien Notes could ever be reinstated. They may not simply

assume the conclusion of reinstatement—that, in their view, it is as though the

Applicable Premium never came due—and then use that conclusion to avoid their

cure obligations.

      When addressing claims for default-rate interest, courts have rejected the

“time travel” sleight-of-hand attempted by the Debtors here. In that context, debtors



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have sometimes argued that cure and reinstatement permits them to nullify all

consequences of a default, including the application of a contractual default rate of

interest. But as discussed above (pp. 45-48), courts have rejected those arguments,

particularly since the enactment of section 1123(d), concluding instead that “the

debtor can return to pre-default conditions, which can include a lower, pre-default

interest rate, only by fulfilling the obligations of the underlying loan agreement and

applicable state law.” New Invs., 840 F.3d at 1142 (emphasis added).45

       In other words, a debtor’s cure obligation is evaluated under the parties’

contract at the time the debtor proposes to cure and reinstate. Id. at 1141-42.46 As

one bankruptcy court put it: “The arrearage” that a debtor must pay to reinstate a

claim “must be determined under the terms of the agreements and regulations

applicable to the debt as it exists prior to its ‘de-acceleration,’ rather than by looking

to what might have been had no default occurred. Not until the default is cured are

its consequences undone.” In re Carpenter, 331 B.R. 529, 534 (Bankr. D. Conn.



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     The Ninth Circuit in New Investments overruled that court’s prior decision in In
     re Entz-White Lumber & Supply, Inc., 850 F.2d 1338 (9th Cir. 1988), which had
     held—prior to the enactment of 11 U.S.C. § 1123(d)—that curing a default
     permits a debtor “to avoid all consequences of the default—including higher
     post-default interest rates.” 850 F.2d at 1342.
46
     See also, e.g., In re Sagamore Partners, Ltd., 620 F. App’x at 869; General
     Growth Props., Inc., 451 B.R. at 331; In re Moshe, 567 B.R. 438, 445-47 (Bankr.
     E.D.N.Y. 2017); In re 139-141 Owners Corp., 306 B.R. 764, 768 (Bankr.
     S.D.N.Y. 2004), aff’d in relevant part, 313 B.R. 364 (S.D.N.Y. 2004).

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2005) (emphasis added) (citation omitted); see also John Q. Hammons, 612 B.R. at

804–05 (requiring default interest even when loan is de-accelerated under §

1124(2)); General Growth Props., 451 B.R. at 327–31 (same, holding “right to

receive default interest derives from the Debtors’ reinstatement of the loan under §

1124”); In re 1111 Myrtle Ave. Grp., LLC, 598 B.R. at 737 n.4 (“while a debtor may

utilize bankruptcy to cure a pre-petition default in order to de-accelerate the loan, a

debtor is not entitled to ‘cure’ the imposition of default interest following the

default”).47

       Those observations are equally applicable here. Today, the Debtors are

unquestionably in arrears in paying the interest due on the Applicable Premium.



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     Indeed, the retroactive reimagining that the Debtors advocate for here lacks any
     logical stopping point. As one commentator has explained:
       Pretending the contract is not in default (when it is) and thereby invoking
       the predefault rate in violation of the contract cannot be called a
       contractual theory of cure. Indeed, subjunctive work of this sort
       (reimagining the world “as if” the contract were never breached) threatens
       to produce a cure price of zero. That is, if we can pretend the debtor never
       defaulted for the purpose of triggering postdefault interest, we can pretend
       no default for other reasons as well. Namely, we can pretend that the
       secured party was paid all amounts due and owing under the contract, plus
       attorneys’ fees. If we unleash subjunctive imagination, there is no limit,
       save that which imagination chooses to impose upon itself, in reordering
       the contractual rights of the parties. Reimagining the world and then
       proclaiming that the contract is not in default does not constitute following
       the contract.
     David Gray Carlson, Rake’s Progress: Cure and Reinstatement of Secured
     Claims in Bankruptcy Reorganization, 13 Bankr. Dev. J. 273, 333-34 (1997).

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Rather than curing that default, however, they propose that their payment obligation

can be nullified through reinstatement of the First Lien Notes. But cure must precede

reinstatement. See Carpenter, 331 B.R. at 534. Thus, at an absolute minimum, the

First Lien Noteholders must be treated as impaired absent payment of the interest

that accrued on the Applicable Premium during the pendency the bankruptcy case,

at least through the Effective Date of the Plan.

      D.     The Plan Impairs The First Lien Noteholders By Extinguishing
             Their Rights Under The Second Lien Intercreditor Agreement

      Apart from the Plan’s treatment of the Applicable Premium, reinstatement of

the First Lien Notes is also impermissible because the Plan strips the First Lien

Noteholders of important intercreditor rights vis-à-vis holders of the Debtors’

subordinated Second Lien Notes, as set forth in the Second Lien Intercreditor

Agreement. This alteration of the First Lien Noteholders’ “legal, equitable, or

contractual rights,” 11 U.S.C. § 1124(2)(E), is incompatible with reinstatement and

not otherwise permitted by the Bankruptcy Code.

             1.     The Plan Insulates The Second Lien Noteholders From
                    Intercreditor Liability

      Under the Plan, the Second Lien Noteholders received distributions of “New

Second Lien Notes.” See Plan Arts. I.A.254, III.B.4.c; id. Ex. 2 (A.3077, 3111,

3218-19). As set forth below, those distributions would be subject to the Second

Lien Intercreditor Agreement. The Plan, however, purports to extinguish the First



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Lien Noteholders’ rights by broadly exculpating the Second Lien Noteholders from

any intercreditor liability to the First Lien Noteholders:

      [T]he holders of First Lien Notes shall not have any claims (including,
      without limitation, for turnover of payments) against the holders of
      Second Lien Notes (or the Second Lien Indenture Trustee or the Second
      Lien Collateral Agent) under the existing Intercreditor Agreement in
      any way arising from, relating to or as a result of the Debtors’
      restructuring (including, without limitation, of the First Lien Notes and
      Second Lien Notes), the Plan (including, without limitation, the
      treatment of the existing First Lien Notes Claims or Second Lien Notes
      Claims under the Plan or the making of distributions to the holders of
      the existing First Lien Notes Claims or Second Lien Notes Claims in
      accordance with the Plan), the distribution of property by the Debtors
      under the Plan, any related document or any order of the Bankruptcy
      Court, or any other transaction, agreement, event, omission or other
      occurrence taking place on or before the Effective Date related or
      relating to any of the foregoing, including without limitation the
      payment of any reasonable and documented out-of-pocket fees or
      expenses of the advisors to the Ad Hoc Second Lien Notes Group or
      the payment of the Second Lien Notes Indenture Trustee Fees, which
      payments shall be final and not subject to disgorgement, turnover,
      recovery, avoidance, recharacterization or any other similar claim.

Id. Art. IV.GG (A.3162-63).

      Other provisions of the Plan are to the same effect. The Plan states that the

Second Lien Noteholders’ recovery under the Plan “shall not be deemed a

distribution or payment in respect of Shared Collateral,” id. Art. III.B.4.c (A.3111),

and that “[t]he financial accommodations to be extended pursuant to the New Second

Lien Notes . . . shall not be subject to avoidance, recovery, turnover,

recharacterization, or subordination (including equitable subordination) for any

purposes whatsoever.” Id. Art. IV.H.5 (A.3133-34). The Plan further provides that


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adequate protection payments made in respect of the Second Lien Notes shall not be

“subject to disgorgement, turnover, recovery, avoidance, recharacterization or any

other similar claim by any party under any legal or equitable theory.” Id. Art.

III.B.4.b (A.3111). And the bankruptcy court’s Confirmation Order swept even

more broadly, providing that “Holders of First Lien Notes Claims shall not have, and

shall hereby be prohibited and enjoined from asserting, any claims (including,

without limitation, for turnover of payments) against any of the Prepetition Secured

Parties”—including the Second Lien Noteholders—“under any of the Intercreditor

Agreements in any way arising from, relating to, or as a result of the Debtors’

restructuring, the Plan, the distribution of property or any payments made under the

Plan.” Confirmation Order ¶ 253 (A.3394).

             2.    The Plan Improperly Eliminates Important Intercreditor
                   Rights Of the First Lien Noteholders

       The Plan’s exculpatory provisions are incompatible with reinstatement

because they modify the First Lien Noteholders’ rights under the Second Lien

Intercreditor Agreement,48 which governs the relative rights of the Debtors’ First

Lien and Second Lien debt.

       Section 4.2(b) of the Second Lien Intercreditor Agreement provides that, “so

long as the Discharge of First Lien Obligations has not occurred, if in any Insolvency



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     See ECF 4719, Ex. 8 (A.2291).

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or Liquidation Proceeding the Second Lien Collateral Agent or any other Second

Lien Claimholders shall receive any distribution of money or other property in

respect of or on account of the Collateral . . . such money, other property or amounts

shall be segregated and held in trust and forthwith paid over to the First Lien

Collateral Agent for the benefit of the First Lien Claimholders in the same form as

received.” A.2316. Under the Second Lien Intercreditor Agreement, “Discharge”

of the senior first lien obligations is defined to require, among other things, “payment

in full in cash.”    Second Lien Intercreditor Agreement § 1.1 (A.2299-2230).

“Discharge” of the First Lien Notes has not occurred for two reasons: (1) the First

Lien Notes have not been paid in cash, and (2) the First Lien Noteholders will

receive nothing on account of the Applicable Premium under the Plan. Thus, the

bankruptcy court’s statement that “the holders of First Lien Notes Claims shall have

received recovery in full pursuant to the terms of this Plan” is erroneous. See Plan

Art. IV.GG (A.A.3162-63).

      The New Second Lien Notes that are to be issued to the Second Lien

Noteholders under the Plan are subject to Section 4.2(b) of the Second Lien

Intercreditor Agreement’s turnover obligation. They represent a “distribution of . . .

property” to the Second Lien Noteholders in an “Insolvency . . . Proceeding,” which

is unquestionably “on account of the Collateral” that is subject to the Second Lien

Intercreditor Agreement. Second Lien Intercreditor Agreement § 4.2(b) (A.2316).



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Indeed, the Plan acknowledges that the New Second Lien Notes are distributed to

the Second Lien Noteholders “in full and final satisfaction, settlement, release, and

discharge” of their claims on the existing Second Lien Notes—that is, on account of

their secured claims against the Debtors. Plan (ECF 6510) Art. III.B.4.c (A.3111).

Moreover, the New Second Lien Notes are secured by the very same Collateral, and

thus derive their value directly from it. Id. 4 (A.3224) (“Liens on the same collateral

as secures the existing Second Lien Notes” (emphasis added)). Until the First Lien

Notes are discharged through payment in full in cash, the Second Lien Noteholders

must turn over any such distribution of property—and the Plan’s contrary

determination is therefore an impermissible alteration of the First Lien Noteholders’

rights.

          In concluding otherwise, the bankruptcy court reasoned that “[t]he issuance

of new debt” to the Second Lien Noteholders “is not a distribution of debtor’s money

or property.”      11/5/21 Tr. 112:10-14 (A.2833).49      But Section 4.2’s turnover




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     The bankruptcy court cited two cases for this proposition, neither of which is
     persuasive. In Energy Future Holdings, the relevant intercreditor agreement
     limited the senior creditors’ rights to collateral and its “proceeds.” In re Energy
     Future Holdings Corp., 546 B.R. 566, 571-72 (Bankr. D. Del. 2016), aff’d, 773
     F. App’x 89 (3d Cir. 2019). Here, by contrast, the Second Lien Intercreditor
     Agreement mandates the turnover of “any distribution of money or other
     property in respect of or on account of the Collateral. § 4.2(a) (A.2316)
     (emphasis added). Clearly, new Second Lien Notes secured by the Collateral
     are in respect of, or on account of, the Collateral.

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obligation is not triggered only by a distribution of the Debtors’ property; it applies

to any distribution of property in an insolvency proceeding that is “on account of the

Collateral.” Second Lien Intercreditor Agreement § 4.2(b) (A.2316). And there can

be no doubt that the new notes distributed to the Second Lien Noteholders are a form

of property (even if not a distribution of the Debtors’ property), and that they are

being distributed to the Second Lien Noteholders on account of the Collateral.

Indeed, the treatment that the Second Lien Noteholders are receiving under the Plan

is substantially superior to that being received by unsecured creditors with claims

against essentially the same Debtors, and the only reason for that superior treatment

is the Collateral.   Compare Disclosure Statement, ECF 2917 at 6 (A.0498)

(projecting Class 4 Second Lien Noteholder recoveries at 100%) with id. at 7

(A.0499) (projecting Class 5 Guaranteed Unsecured Notes Claims recoveries at 57%

to 86%).




    The bankruptcy court’s reliance on Windstar for the proposition that the new
    Second Lien Notes are not the Debtors’ property is even less on point. See
    11/5/21 Tr. at 111:17 – 112:1 (A.2832-33) (citing In Re Windstar, 554 F.3d 382,
    400 (3d Cir. 2009)). Windstar was a preference case involving the “earmarking”
    doctrine, which had nothing to do with intercreditor disputes. In any event,
    nothing in the Second Lien Intercreditor Agreement requires that the property
    the Second Lien Noteholders receive be the Debtors’ property in order for it to
    be subject to turnover. The property only need be “in respect of, or on account
    of, the Collateral.”

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      The bankruptcy court also emphasized that “the proposed new second lien

notes will be subject to the second lien inter-creditor agreement,” apparently

adverting to the second sentence of Section 4.2(b) of the Second Lien Intercreditor

Agreement, which provides that “[a]ny lien received by” the Second Lien

Noteholders “in respect of any of the Second Lien Obligations in any Insolvency . . .

Proceeding shall be subject to the terms of this Agreement.” A.2316; see also

11/5/21 Tr. 112:15-20 (A.2833). And the court suggested that “nothing in the inter-

creditor agreement prohibits issuance of new debt obligations so long as they remain

junior to the first lien obligations,” 11/5/21 Tr. 112:15-20 (A.2833), an apparent

reference to the “Reorganization Securities” provision in Section 6.6 of the Second

Lien Intercreditor Agreement.      That provision addresses new debt obligations

distributed in a bankruptcy case, and mandates that the provisions of the Second Lien

Intercreditor Agreement continue to apply to such new obligations:

      If, in any Insolvency or Liquidation Proceeding, debt obligations of the
      reorganized debtor secured by Liens upon any property of the
      reorganized debtor are distributed pursuant to a plan of reorganization
      or similar dispositive restructuring plan, arrangement, compromise or
      liquidation or similar dispositive restructuring plan, both on account of
      First Lien Obligations and on account of Second Lien Obligations, then,
      to the extent the debt obligations distributed on account of the First Lien
      Obligations and on account of the Second Lien Obligations are secured
      by Liens upon the same property, the provisions of this Agreement will
      survive the distribution of such debt obligations pursuant to such plan
      and will apply with like effect to the Liens securing such debt
      obligations.

Second Lien Intercreditor Agreement § 6.6 (A2326).


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       As a logical matter, however, these two provisions merely serve to restrict

what securities may be distributed to the Second Lien Noteholders, in the first

instance, under a plan of reorganization. They do not suggest that the Second Lien

Noteholders are entitled to retain any such securities in violation of the turnover

requirement imposed by Section 4.2.

       The Plan also alters the First Lien Noteholders’ intercreditor rights with

respect to the adequate protection payments that the Second Lien Noteholders

received during the pendency of the Debtors’ case.           Under the Second Lien

Intercreditor Agreement, to the extent that “the First Lien Claimholders do not

receive payment in full in cash of all First Lien Obligations upon the effectiveness

of the plan of reorganization,” adequate protection payments received by the Second

Lien Noteholders “shall be paid over.” Second Lien Intercreditor Agreement

§ 6.3(b)(ii) (A.2325) (emphasis added).50




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     The “Pay-Over Amount” is defined as “the lesser of (x) the Second Lien
     Adequate Protection Payments received by the Second Lien Claimholders and
     (y) the amount of the short fall (the “Short-Fall”) in payment in full of the First
     Lien Obligations,” with the proviso that, “to the extent any portion of the Short-
     Fall represents payments received by the First Lien Claimholders in the form of
     promissory notes, equity or other property equal in value to the cash paid in
     respect of the Pay-Over Amount, the First Lien Claimholders shall, upon receipt
     of the Pay-Over Amount, transfer those promissory notes, equity or other
     property, equal in value to the cash paid in respect of the Pay-Over Amount, to
     the applicable Second Lien Claimholders pro rata in exchange for the Pay-Over
     Amount.” Second Lien Intercreditor Agreement § 6.3(b)(ii) (A.2325).

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      The bankruptcy court held that the Second Lien Noteholders have no liability

under Section 6.3(b)(ii) because, following reinstatement, the First Lien Noteholders

“cannot claim that they have been paid less than full value and seeking recovery

from the second lien lenders.” 11/5/21 Tr. 113:3-6 (A.2834). But that is a non

sequitur: Even assuming (counterfactually) that reinstatement without payment of

the Applicable Premium represents “full value,” the Second Lien Noteholders’

intercreditor obligations persist until “Discharge” of the First Lien Obligations,

which requires, among other things, “payment in full in cash.” Second Lien

Intercreditor Agreement § 1.1 (A.2299-2230) (emphasis added).          To state the

obvious, reinstatement of the First Lien Notes pursuant to the Plan is not repayment

in full in cash. It therefore follows that the Second Lien Noteholders’ intercreditor

obligations—including the obligation to pay over adequate protection payments

under Section 6.3(b)(ii)—necessarily remain in place.

      Moreover, the bankruptcy court erred in concluding that, if the Debtors’

obligation to pay the Applicable Premium can be avoided through reinstatement,

then that amount would not be recoverable from the Second Lien Noteholders.

Under the Second Lien Intercreditor Agreement, if any amounts “to be paid by a

First Lien Obligor . . .   are disallowed by order of any court of competent

jurisdiction, including by order of a court presiding over an Insolvency or

Liquidation Proceeding,” such amounts “shall, as between the First Lien



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Claimholders and the Second Lien Claimholders, be deemed to continue to accrue

and be added to the amount to be calculated as the ‘First Lien Obligations.’” Second

Lien Intercreditor Agreement § 1.1 (A.2302). Thus, the Second Lien Noteholders’

turnover obligation would encompass not only the original principal amount of the

First Lien Notes, but also the Applicable Premium and interest thereon.

      The bankruptcy court rejected that conclusion because, in its view,

reinstatement of the First Lien Notes meant that “any consequences from any alleged

default as it relates to the second lien creditors are reversed.” 11/5/21 Tr. 112:24 -

113:1 (A.2833-34).      It attributed that conclusion to a single, non-precedential

bankruptcy court decision, Onco, which rejected a senior creditor’s attempt to

recover a prepayment charge from a subordinated creditor following reinstatement

of the senior creditor’s claim vis-à-vis the debtor. See 316 B.R. at 167. But the court

in that case did not set out a general rule of law from which parties cannot agree to

depart. Rather, it construed the specific contractual agreements at issue in that case

to determine whether they made the subordinated creditor “subordinate to any

amount not paid by the Debtor if the Debtor ever owed such amount.” Id. In

undertaking that inquiry, the court looked to section 1124(2)’s reinstatement

provision and the policies underlying it, which ultimately led the court to reject the

senior creditor’s “strained interpretation that once a default exists, it and all of [its]




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consequences are frozen in time for all purposes and all parties except a debtor who”

has reinstated the claim. Id.

      Critically, Onco did not consider any contractual provision confirming that

amounts held to be unrecoverable vis-à-vis the debtor would remain recoverable

from the subordinated creditor. Here, by contrast, Section 1.01 of the Second Lien

Intercreditor Agreement contains just such a provision in the definition of “First Lien

Obligations.” A.2302. For that reason, the bankruptcy court’s reliance on Onco was

misplaced.

      In any event, nothing in section 1124(2) purports to alter the contractual

relationships between two creditors. To the contrary, section 1124(2)(E) requires

that the Plan “not otherwise alter the legal, equitable, or contractual rights to which”

the First Lien Noteholders are entitled. Moreover, section 510(a) requires that

subordination agreements be honored in bankruptcy. Thus, even if the Debtors can

avoid their own obligation to pay the Applicable Premium, that benefit does not

extend to non-debtor third parties who are contractually obligated to honor it. The

Second Lien Intercreditor Agreement treats the First Lien Noteholder’s contractual

entitlements from the Debtors as the measure of the Second Lien Noteholders’

intercreditor liability, even if those entitlements turn out to be unenforceable as

against the Debtors.




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                               CONCLUSION

      The judgment of the bankruptcy court should be reversed as to the Plan’s

treatment of the Applicable Premium and the First Lien Noteholders’ rights under

the Second Lien Intercreditor Agreement.



DATED: May 17, 2022              QUINN EMANUEL URQUHART &
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                       RULE 8015(h) CERTIFICATION

      Pursuant to Fed. R. Bankr. P. 8015(h), I certify that this brief complies with

the Type-Volume Limitation of Fed. R. Bankr. P. 8015(a)(7), as modified by D.I. 30

¶ 7 (permitting 17,000 words). This brief contains 16,814 words, excluding parts of

the document excluded by Fed. R. Bankr. P. 8015(g).



DATED: May 17, 2022


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